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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

RASHEED HINTON and CRYSTAL CLARK and as Co-Special                      )
Administrators of the Estate of RAKELL HINTON, a minor, deceased,       )
                                                       Plaintiffs,      )
                                                                        )
                        v.                                              )
ADVOCATE HEALTH AND HOSPITALS CORPORATION d/b/a                         )
ADVOCATE TRINITY HOSPITAL, d/b/a ADVOCATE MEDICAL                       )
GROUP d/b/a ADVOCATE CHILDREN’S MEDICAL GROUP                           )
individually and/or by and through its agents and/or employee including )
without limit doctors, nurses, medical providers, MARIE-TERESA          )
CHRISTOPHE COLBERT, M.D., LISA DE JUANA DANIEL, M.D.,                   )
ASTER LOHA, R.N., NAOMI O. SANNI, R.N., MONICA NICHELE                  )
CARTER, R.N., SHARON A. WALLACE WILLIAMS,                               )
GUADALUPE GARCIA a/k/a NINA GUADALUPE GARCIA,                           )
MARSHA ANGELLA RODNEY, R.N., LUCY N. KARBEAH, R.N.,                     )
MARJORIE GINOY MICHEL, M.D., DARA THERESE NUZZO,                        )
R.N., and/or others; MARIE-TERESA CHRISTOPHE COLBERT,                   )
M.D. individually and/or as an agent of ADVOCATE HEALTH                 )
HOSPITALS CORPORATION d/b/a ADVOCATE TRINITY                                No. 21 C 1681
                                                                        )
HOSPITAL, d/b/a ADVOCATE MEDICAL GROUP d/b/a
                                                                        )   Judge
ADVOCATE CHILDREN’S MEDICAL GROUP, and/or CHICAGO
                                                                        )
FAMILY HEALTH CENTER, INC; LISA DE JUANA DANIEL, M.D.
individually and/or as an agent of ADVOCATE HEALTH HOSPITALS )              Formerly Case No.
CORPORATION d/b/a ADVOCATE TRINITY HOSPITAL, d/b/a                      )   19 L 14017 Circuit
ADVOCATE MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S                        )   Court of Cook
MEDICAL GROUP, CHICAGO FAMILY HEALTH CENTER, INC.,                      )   County, Illinois
ADVANCED GYNE & COSMETIC CARE, and/or FOR WOMEN                         )
ONLY HEALTHCARE, INC; ASTER LOHA,R.N. individually and/or )
as an agent of ADVOCATE HEALTH HOSPITALS CORPORATION )
d/b/a ADVOCATE TRINITY HOSPITAL, d/b/a ADVOCATE                         )
MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S MEDICAL                         )
GROUP; NAOMI O. SANNI, R.N. individually and/or as an agent of          )
ADVOCATE HEALTH HOSPITALS CORPORATION d/b/a                             )
ADVOCATE TRINITY HOSPITAL, d/b/a ADVOCATE MEDICAL                       )
GROUP d/b/a ADVOCATE CHILDREN’S MEDICAL GROUP;                          )
MONICA NICHELE CARTER, R.N. individually and/or as an agent of )
ADVOCATE HEALTH HOSPITALS CORPORATION d/b/a                             )
ADVOCATE TRINITY HOSPITAL, d/b/a ADVOCATE MEDICAL                       )
GROUP d/b/a ADVOCATE CHILDREN’S MEDICAL GROUP;                          )
SHARON A. WALLACE WILLIAMS individually and/or as an agent              )
of ADVOCATE HEALTH HOSPITALS CORPORATION d/b/a                          )
ADVOCATE TRINITY HOSPITAL, d/b/a ADVOCATE MEDICAL                       )
GROUP d/b/a ADVOCATE CHILDREN’S MEDICAL GROUP;
                                                                        )
GUADALUPE GARCIA a/k/a NINA GUADALUPE GARCIA
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 individually and/or as an agent of ADVOCATE HEALTH HOSPITALS              )
 CORPORATION d/b/a ADVOCATE TRINITY HOSPITAL, d/b/a                        )
 ADVOCATE MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S                          )
 MEDICAL GROUP; MARSHA ANGELLA RODNEY, R.N.                                )
 individually and/or as an agent of ADVOCATE HEALTH HOSPITALS              )
 CORPORATION d/b/a ADVOCATE TRINITY HOSPITAL, d/b/a                        )
 ADVOCATE MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S                          )
 MEDICAL GROUP; LUCY N. KARBEAH, R.N. individually and/or                  )
 as an agent of ADVOCATE HEALTH HOSPITALS CORPORATION                      )
 d/b/a ADVOCATE TRINITY HOSPITAL, d/b/a ADVOCATE                           )
 MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S MEDICAL
                                                                           )
 GROUP; MARJORIE GINOY MICHEL, M.D. individually and/or as
                                                                           )
 an agent of ADVOCATE HEALTH HOSPITALS CORPORATION
 d/b/a ADVOCATE TRINITY HOSPITAL, d/b/a ADVOCATE
                                                                           )
 MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S MEDICAL                           )
 GROUP and/or CHICAGO FAMILY HEALTH CENTER, INC; DARA                      )
 THERESE NUZZO, R.N., individually and/or as an agent of                   )
 ADVOCATE HEALTH HOSPITALS CORPORATION d/b/a                               )
 ADVOCATE TRINITY HOSPITAL, d/b/a ADVOCATE MEDICAL                         )
 GROUP d/b/a ADVOCATE CHILDREN’S MEDICAL GROUP;                            )
 CHICAGO FAMILY HEALTH CENTER, INC individually and/or by                  )
 and through its agents and/or employee including without limit doctors,   )
 nurses, medical providers MARIE-TERESA CHRISTOPHE                         )
 COLBERT, M.D., LISA DE JUANA DANIEL, M.D., MARJORIE                       )
 GINOY MICHEL, M.D., and/or others; ADVANCED GYNE &                        )
 COSMETIC CARE, and/or FOR WOMEN ONLY HEALTHCARE,                          )
 INC individually and/or by and through its agents and/or employee         )
 including without limit doctors, nurses, medical providers LISA )         )
 DE JUANA DANIEL, M.D. and/or others,                                      )
                                                      Defendants.          )

                  NOTICE OF REMOVAL OF A CIVIL ACTION AND
               SUBSTITUTION OF THE UNITED STATES AS DEFENDANT

  To:      Clerk of the Circuit Court                  Brian LaCien
           Richard J. Daley Center, Room 1001          Smith Lacien LLP
           50 West Washington Street                   70 W Madison St Ste. 2250
           Chicago, Illinois 60602                     Chicago Illinois 60602
           Barker Castro Kuban & Stein
           303 W Madison St., Suite 700
           Chicago Illinois 60606
         The United States, by its attorney, John R. Lausch, Jr., United States Attorney for the

Northern District of Illinois, submits this notice of removal of the above-captioned civil action




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from the Circuit Court of Cook County, Illinois, to the United States District Court, Northern

District of Illinois, pursuant to 42 U.S.C. § 233, and in support thereof states the following:

       1.      On February 24, 2021 plaintiffs Rasheed Hinton and Crystal Clark and as Co-

Special Administrators of the Estate of Rakell Hinton, a minor, deceased, filed an amended

complaint in the above civil action against Chicago Family Health Center, Marie-Teresa

Christophe Colbert, M.D., and Lisa De Juana Daniel, M.D., as well as others, alleging medical

malpractice. A copy of the first amended state court complaint is attached as Exhibit A. For

purposes of this lawsuit, Chicago Family Health Center is a private entity that receives grant money

from the Public Health Service pursuant to 42 U.S.C. § 254b and was deemed to be an employee

of the Public Health Service pursuant to 42 U.S.C. § 233. Exhibit B. In addition, Drs. Colbert and

Daniel were acting within the scope of their employment at the Chicago Family Health Center

with respect to the incidents referred to in the complaint. Id.

       2.      This notice of removal is filed in accordance with 42 U.S.C. § 233 upon

certification by the designee of the Attorney General of the United States that defendant Chicago

Family Health Center was a private entity deemed to be an employee of the Public Health Service

and that defendants Drs. Colbert and Daniel were acting within the scope of their employment at

the Chicago Family Health Center with respect to the incidents referred to in the complaint.

Exhibit B.

       3.      This notice of removal may be filed without bond at any time before trial. 42 U.S.C.

§ 233(c). Trial has not yet been had in this action.

       4.      Pursuant to the certification by the Attorney General’s designee and the filing of

this notice of removal, under 42 U.S.C. § 233(c), this civil action is deemed an action against the

United States as to the above-identified defendants, and the United States is substituted as the sole



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federal party defendant in place of defendants Chicago Family Health Center, Marie-Teresa

Christophe Colbert, M.D., and Lisa De Juana Daniel, M.D.

       WHEREFORE, this action now pending in the Circuit Court of Cook County, Illinois, is

properly removed to this court pursuant to 42 U.S.C. § 233, and the United States is substituted as

the defendant in lieu of defendants Chicago Family Health Center, Marie-Teresa Christophe

Colbert, M.D., and Lisa De Juana Daniel, M.D.

                                             Respectfully submitted,

                                             JOHN R. LAUSCH, Jr.
                                             United States Attorney

                                             By: s/ Danielle Anne Phillip
                                                DANIELLE ANNE PHILLIP
                                                Assistant United States Attorney
                                                219 South Dearborn Street
                                                Chicago, Illinois 60604
                                                (312) 886-2039
                                                danielle.phillip@usdoj.gov




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                   Exhibit A
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                       IN THE CIRCUIT COURT OF COOK COUNTY
                         COUNTY DEPARTMENT, LAW DIVISON

RASHEED HINTON and CRYSTAL CLARK                         )
and as Co-Special Administrators of the Estate of RAKELL )
HINTON, a minor, deceased,                               )
                                                         )
                        Plaintiffs,                      )   JURY DEMANDED
                                                         )
                v.                                       )   No. 19 L 14017
                                                         )
ADVOCATE HEALTH AND HOSPITALS                            )
CORPORATION d/b/a ADVOCATE TRINITY HOSPITAL, )
 d/b/a ADVOCATE MEDICAL GROUP d/b/a ADVOCATE )
CHILDREN’S MEDICAL GROUP individually and/or by )
and through its agents and/or employee including without )
limit doctors, nurses, medical providers, MARIE-TERESA )
CHRISTOPHE COLBERT, M.D., LISA DE JUANA                  )
DANIEL, M.D., ASTER LOHA, R.N., NAOMI O. SANNI, )
R.N., MONICA NICHELE CARTER, R.N., SHARON A. )
WALLACE – WILLIAMS, GUADALUPE GARCIA a/k/a )
NINA GUADALUPE GARCIA, MARSHA ANGELLA                    )
RODNEY, R.N., LUCY N. KARBEAH, R.N., MARJORIE )
GINOY MICHEL, M.D., DARA THERESE NUZZO, R.N., )
and/or others; MARIE-TERESA CHRISTOPHE COLBERT, )
M.D. individually and/or as an agent of                  )
ADVOCATE HEALTH HOSPITALS CORPORATION                    )
d/b/a ADVOCATE TRINITY HOSPITAL, d/b/a                   )
ADVOCATE MEDICAL GROUP d/b/a ADVOCATE                    )
CHILDREN’S MEDICAL GROUP, and/or CHICAGO                 )
FAMILY HEALTH CENTER, INC; LISA DE JUANA                 )
DANIEL, M.D. individually and/or as an agent of          )
ADVOCATE HEALTH HOSPITALS CORPORATION d/b/a )
ADVOCATE TRINITY HOSPITAL, d/b/a ADVOCATE                )
MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S                  )
MEDICAL GROUP, CHICAGO FAMILY HEALTH                     )
CENTER, INC., ADVANCED GYNE & COSMETIC                   )
CARE, and/or FOR WOMEN ONLY HEALTHCARE, INC; )
ASTER LOHA,R.N. individually and/or as an agent          )
of ADVOCATE HEALTH HOSPITALS CORPORATION )
d/b/a ADVOCATE TRINITY HOSPITAL,                         )
d/b/a ADVOCATE MEDICAL GROUP d/b/a ADVOCATE )
CHILDREN’S MEDICAL GROUP;                                )
NAOMI O. SANNI, R.N. individually and/or as an agent of )
ADVOCATE HEALTH HOSPITALS CORPORATION d/b/a )

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ADVOCATE TRINITY HOSPITAL, d/b/a ADVOCATE                   )
MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S                     )
MEDICAL GROUP; MONICA NICHELE CARTER,                       )
R.N. individually and/or as an agent of ADVOCATE            )
HEALTH HOSPITALS CORPORATION d/b/a                          )
ADVOCATE TRINITY HOSPITAL, d/b/a ADVOCATE                   )
MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S                     )
MEDICAL GROUP; SHARON A.                                    )
WALLACE – WILLIAMS individually and/or as an                )
agent of ADVOCATE HEALTH HOSPITALS                          )
CORPORATION d/b/a ADVOCATE TRINITY                          )
HOSPITAL, d/b/a ADVOCATE MEDICAL GROUP                      )
d/b/a ADVOCATE CHILDREN’S MEDICAL GROUP;                    )
GUADALUPE GARCIA a/k/a NINA GUADALUPE                       )
GARCIA individually and/or as an agent of ADVOCATE          )
HEALTH HOSPITALS CORPORATION d/b/a                          )
ADVOCATE TRINITY HOSPITAL, d/b/a ADVOCATE                   )
MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S                     )
MEDICAL GROUP; MARSHA ANGELLA                               )
RODNEY, R.N. individually and/or as an agent of             )
ADVOCATE HEALTH HOSPITALS CORPORATION d/b/a )
ADVOCATE TRINITY HOSPITAL, d/b/a ADVOCATE                   )
MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S                     )
MEDICAL GROUP; LUCY N. KARBEAH, R.N.                        )
individually and/or as an agent of ADVOCATE HEALTH          )
HOSPITALS CORPORATION d/b/a ADVOCATE TRINITY )
HOSPITAL, d/b/a ADVOCATE MEDICAL GROUP d/b/a )
ADVOCATE CHILDREN’S MEDICAL GROUP;                          )
MARJORIE GINOY MICHEL, M.D. individually and/or as )
an agent of ADVOCATE HEALTH HOSPITALS                       )
CORPORATION d/b/a ADVOCATE TRINITY HOSPITAL, )
d/b/a ADVOCATE MEDICAL GROUP d/b/a ADVOCATE )
CHILDREN’S MEDICAL GROUP and/or CHICAGO                     )
FAMILY HEALTH CENTER, INC; DARA THERESE                     )
NUZZO, R.N., individually and/or as an agent of             )
ADVOCATE HEALTH HOSPITALS CORPORATION                       )
d/b/a ADVOCATE TRINITY HOSPITAL, d/b/a                      )
ADVOCATE MEDICAL GROUP d/b/a ADVOCATE                       )
CHILDREN’S MEDICAL GROUP; CHICAGO FAMILY )
HEALTH CENTER, INC individually and/or by and through )
its agents and/or employee including without limit doctors, )
nurses, medical providers MARIE-TERESA CHRISTOPHE )
COLBERT, M.D., LISA DE JUANA DANIEL, M.D.,                  )
MARJORIE GINOY MICHEL, M.D., and/or others;                 )
ADVANCED GYNE & COSMETIC CARE, and/or                       )

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FOR WOMEN ONLY HEALTHCARE, INC individually                  )
and/or by and through its agents and/or employee including   )
without limit doctors, nurses, medical providers LISA        )
DE JUANA DANIEL, M.D. and/or others;                         )

                              FIRST AMENDED COMPLAINT
        Now Come the Plaintiffs, RASHEED HINTON and CRYSTAL CLARK and as Co-
Special Administrators of the Estate of RAKELL HINTON, a minor, Deceased, by and through
their attorneys, SMITH LACIEN LLP and hereby complaining of Defendants ADVOCATE
HEALTH AND HOSPITALS CORPORATION d/b/a ADVOCATE TRINITY HOSPITAL, d/b/a
ADVOCATE MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S MEDICAL GROUP
individually and/or by and through its agents and/or employee including without limit doctors,
nurses, medical providers, MARIE-TERESA CHRISTOPHE COLBERT, M.D., LISA DE
JUANA DANIEL, M.D., ASTER LOHA, R.N., NAOMI O. SANNI, R.N., MONICA NICHELE
CARTER, R.N., SHARON A. WALLACE – WILLIAMS, GUADALUPE GARCIA a/k/a NINA
GUADALUPE GARCIA, MARSHA ANGELLA RODNEY, R.N., LUCY N. KARBEAH, R.N.,
MARJORIE GINOY MICHEL, M.D., DARA THERESE NUZZO, R.N., and/or others; MARIE-
TERESA CHRISTOPHE COLBERT, M.D. individually and/or as an agent of ADVOCATE
HEALTH HOSPITALS CORPORATION d/b/a ADVOCATE TRINITY HOSPITAL, d/b/a
ADVOCATE MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S MEDICAL GROUP,
and/or CHICAGO FAMILY HEALTH CENTER, INC; LISA DE JUANA DANIEL, M.D.
individually and/or as an agent of ADVOCATE HEALTH HOSPITALS CORPORATION d/b/a
ADVOCATE TRINITY HOSPITAL, d/b/a ADVOCATE MEDICAL GROUP d/b/a
ADVOCATE CHILDREN’S MEDICAL GROUP, CHICAGO FAMILY HEALTH CENTER,
INC., ADVANCED GYNE & COSMETIC CARE, and/or FOR WOMEN ONLY
HEALTHCARE, INC; ASTER LOHA,R.N. individually and/or as an agent of ADVOCATE
HEALTH HOSPITALS CORPORATION d/b/a ADVOCATE TRINITY HOSPITAL, d/b/a
ADVOCATE MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S MEDICAL GROUP;
NAOMI O. SANNI, R.N. individually and/or as an agent of ADVOCATE HEALTH HOSPITALS
CORPORATION d/b/a ADVOCATE TRINITY HOSPITAL, d/b/a ADVOCATE MEDICAL
GROUP d/b/a ADVOCATE CHILDREN’S MEDICAL GROUP; MONICA NICHELE
CARTER, R.N. individually and/or as an agent of ADVOCATE HEALTH HOSPITALS
CORPORATION d/b/a ADVOCATE TRINITY HOSPITAL, d/b/a ADVOCATE MEDICAL
GROUP d/b/a ADVOCATE CHILDREN’S MEDICAL GROUP; SHARON A. WALLACE –
WILLIAMS individually and/or as an agent of ADVOCATE HEALTH HOSPITALS
CORPORATION d/b/a ADVOCATE TRINITY HOSPITAL, d/b/a ADVOCATE MEDICAL
GROUP d/b/a ADVOCATE CHILDREN’S MEDICAL GROUP; GUADALUPE GARCIA a/k/a
NINA GUADALUPE GARCIA individually and/or as an agent of ADVOCATE HEALTH
HOSPITALS CORPORATION d/b/a ADVOCATE TRINITY HOSPITAL, d/b/a ADVOCATE
MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S MEDICAL GROUP; MARSHA
ANGELLA RODNEY, R.N. individually and/or as an agent of ADVOCATE HEALTH
HOSPITALS CORPORATION d/b/a                 ADVOCATE TRINITY HOSPITAL, d/b/a
ADVOCATE MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S MEDICAL GROUP;
LUCY N. KARBEAH, R.N. individually and/or as an agent of ADVOCATE HEALTH
HOSPITALS CORPORATION d/b/a ADVOCATE TRINITY HOSPITAL, d/b/a ADVOCATE
MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S MEDICAL GROUP; MARJORIE

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GINOY MICHEL, M.D. individually and/or as an agent of ADVOCATE HEALTH HOSPITALS
CORPORATION d/b/a ADVOCATE TRINITY HOSPITAL, d/b/a ADVOCATE MEDICAL
GROUP d/b/a ADVOCATE CHILDREN’S MEDICAL GROUP and/or CHICAGO FAMILY
HEALTH CENTER, INC; DARA THERESE NUZZO, R.N., individually and/or as an agent of
ADVOCATE HEALTH HOSPITALS CORPORATION d/b/a ADVOCATE TRINITY
HOSPITAL, d/b/a ADVOCATE MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S
MEDICAL GROUP; CHICAGO FAMILY HEALTH CENTER, INC individually and/or by and
through its agents and/or employee including without limit doctors, nurses, medical providers
MARIE-TERESA CHRISTOPHE COLBERT, M.D., LISA DE JUANA DANIEL, M.D.,
MARJORIE GINOY MICHEL, M.D., and/or others; ADVANCED GYNE & COSMETIC CARE,
and/or FOR WOMEN ONLY HEALTHCARE, INC individually and/or by and through its agents
and/or employee including without limit doctors, nurses, medical providers LISA DE JUANA
DANIEL, M.D. and/or others, pleading hypothetically and in the alternative states as follows:

                                 COMMON ALLEGATIONS

1. On or about January 3, 2018 through January 7, 2018, and at all times material, Defendant,
   ADVOCATE HEALTH AND HOSPITALS CORPORATION d/b/a ADVOCATE TRINITY
   HOSPITAL, d/b/a ADVOCATE MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S
   MEDICAL GROUP, (hereinafter ADVOCATE) was a licensed hospital and a corporation
   duly organized and existing under the laws of the State of Illinois doing regular and continuous
   business in Cook County Illinois.

2. On or about January 3, 2018 through January 7, 2018, and at all times material, Defendant,
   MARIE-TERESA CHRISTOPHE COLBERT, M.D. was a licensed physician in the State of
   Illinois, doing regular and continuous business in Cook County, State of Illinois.

3. On or about January 3, 2018 through January 7, 2018, and at all times material, Defendant,
   LISA DE JUANA DANIEL, M.D. was a licensed physician in the State of Illinois, doing
   regular and continuous business in Cook County, State of Illinois.

4. On or about January 3, 2018 through January 7, 2018, and at all times material, Defendant,
   MARJORIE GINOY MICHEL, M.D. was a licensed physician in the State of Illinois, doing
   regular and continuous business in Cook County, State of Illinois.

5. On or about January 3, 2018 through January 7, 2018, and at all times material, Defendant
   CHICAGO FAMILY HEALTH CENTER, INC, (hereinafter referred to as “CHICAGO
   FAMILY HEALTH”) was a corporation duly organized and existing under the laws of the
   State of Illinois doing regular and continuous business in City of Chicago, State of Illinois.

6. On or about January 3, 2018 through January 7, 2018, and at all times material, Defendants
   ADVANCED GYNE & COSMETIC                 CARE,      and/or       FOR   WOMEN         ONLY
   HEALTHCARE, INC (hereinafter collectively referred to as “WOMEN HEALTHCARE”)
   were corporations duly organized and existing under the laws of the State of Illinois doing
   regular and continuous business in City of Chicago, State of Illinois.

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7. On or about January 7, 2018, and at all times material, RAKELL HINTON was born at and
   died at DEFENDANT ADVOCATE.

8. On or about January 3, 2018 through January 7, 2018, and at all times material, PLAINTIFF
   RASHEED HINTON resided in Cook County Illinois was the natural father of RAKELL
   HINTON, a minor deceased.

9. On or about January 3, 2018 through January 7, 2018, and at all times material, PLAINTIFF
   CRYSTAL CLARK resided in Cook County Illinois was the natural father of RAKELL
   HINTON, a minor deceased.

10. On or about January 3, 2018 and at all times material, PLAINTIFF CRYSTAL CLARK was
    admitted to DEFENDANT ADVOCATE for the scheduled delivery of RAKELL HINTON, a
    minor deceased, which occurred by caesarian section on January 7, 2018.

11. From January 3, 2018 through January 7, 2018, PLAINTIFF CRYSTAL CLARK and
    RAKELL HINTON, a minor deceased received care, treatment, assessment and evaluation
    from DEFENDANT ADVOCATE and from doctors, nurses, medical providers at
    DEFENDANT ADVOCATE including without limit MARIE-TERESA CHRISTOPHE
    COLBERT, M.D., LISA DE JUANA DANIEL, M.D., ASTER LOHA, R.N., NAOMI O.
    SANNI, R.N., MONICA NICHELE CARTER, R.N., SHARON A. WALLACE –
    WILLIAMS, GUADALUPE GARCIA a/k/a NINA GUADALUPE GARCIA, MARSHA
    ANGELLA RODNEY, R.N., LUCY N. KARBEAH, R.N., MARJORIE GINOY MICHEL,
    M.D., DARA THERESE NUZZO, R.N., and/or others.

12. On or about January 3, 2018 through January 7, 2018, and at all times material, Defendant,
    ADVOCATE employed certain nurses that were involved in and provided care, treatment,
    assessment and evaluation to PLAINTIFF CRYSTAL CLARK and RAKELL HINTON, a
    minor deceased, including ASTER LOHA, R.N., NAOMI O. SANNI, R.N., MONICA
    NICHELE CARTER, R.N., SHARON A. WALLACE – WILLIAMS, GUADALUPE
    GARCIA a/k/a NINA GUADALUPE GARCIA, MARSHA ANGELLA RODNEY, R.N.,
    LUCY N. KARBEAH, R.N., MARJORIE GINOY MICHEL, M.D., DARA THERESE
    NUZZO, R.N., and/or others.

13. On or about January 3, 2018 and at all times material, PLAINTIFF CRYSTAL CLARK
    presented at 40.6 weeks gestation for induction of labor to ADVOCATE. She was 30%
    effaced, and -3 station. Fetal heart tones were in the 140’s. The first dose of Cervidil was
    inserted at 1300.

14. On or about January 4, 2018 and at all times material, a second dose of Cervidil was given at
    0400 due to lack of progression. At 1931, an examine was performed and Foley catheter was
    inserted. PLAINTIFF CRYSTAL CLARK was still only a fingertip dilated. Low dose Pitocin
    was started at 2158.


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15. On or about January 5, 2018 and at all times material, fetal heart tracings were a Category II
    with brief decelerations but with recovery. Pitocin drip was increased per nursing at 0913 and
    then discontinued due to decelerations at 0930. Pitocin was restarted at 1246 and discontinued
    at 1408. At 1506, a vaginal exam was performed and PLAINTIFF CRYSTAL CLARK was
    dilated to 1 cm/-2 station. A third dose of Cervidil was given at 1503.

16. On or about January 5, 2018 and at all times material, DEFENDANTS MARSHA ANGELLA
    RODNEY, R.N., NAOMI O. SANNI, R.N., LUCY N. KARBEAH, R.N., LISA DE JUANA
    DANIEL, M.D. MARIE-TERESA CHRISTOPHE COLBERT, M.D., ADVOCATE,
    CHICAGO FAMILY HEALTH, WOMEN HEALTHCARE and/or others were involved in
    and provided care, treatment, assessment and evaluation to PLAINTIFF CRYSTAL CLARK
    and RAKELL HINTON, a minor deceased.

17. On or about January 6, 2018 and at all times material, PLAINTIFF CRYSTAL CLARK
    remained at fingertip dilated, 30% effaced, and -3 station. Cytotec, was given at 0400. At
    1100, fetal heart rate was documented as Category II with minimal variability and late
    decelerations. Oxygen was applied to PLAINTIFF CRYSTAL CLARK at 1100. At 1200,
    PLAINTIFF CRYSTAL CLARK’s membranes was ruptured. PLAINTIFF CRYSTAL
    CLARK was only 1 cm dilated, 50% effaced and minus 3 station. A fetal scalp electrode and
    IUPC was inserted. From 1242 to 1324, late decelerations and category II tracing were
    documented. Pitocin was restarted at 1400. At 1525, uterine coupling and petany was present.
    At 1700, nurses charted minimal variability and category II tracing. At 1927 an EASI Catheter
    was placed.

18. On or about January 6, 2018 and at all times material, DEFENDANTS MONICA NICHELE
    CARTER, R.N., SHARON A. WALLACE – WILLIAMS, MARJORIE GINOY MICHEL,
    M.D., ASTER LOHA, R.N., LUCY N. KARBEAH, R.N., LISA DE JUANA DANIEL, M.D.
    MARIE-TERESA CHRISTOPHE COLBERT, M.D., ADVOCATE, CHICAGO FAMILY
    HEALTH, WOMEN HEALTHCARE and/or others were involved in and provided care,
    treatment, assessment and evaluation to PLAINTIFF CRYSTAL CLARK and RAKELL
    HINTON, a minor deceased.

19. On or about January 7, 2018 and at all times material, fetal tracings continued to reveal
    intermittent late decelerations and minimal variability. At 0200, Pitocin was discontinued and
    prophylactic Ancef was given at 0445, and maternal temperature was recorded as 99.1 F. At
    0500, Pitocin was restarted. Pitocin continued to be increased, in spite of late and prolonged
    decelerations, decreased variability and fetal tachycardia up to 1034. At 1130, the cervix was
    still only 2 cm dilated and minus 2 station. Beginning at 1300 the decelerations became even
    worse including prolonged decelerations. At 1500, PLAINTIFF CRYSTAL CLARK spiked a
    fever of 100.4 F. At about 1700, PLAINTIFF CRYSTAL CLARK started vomiting and had
    diarrhea and a foul odor. An order was then entered to prepare for a cesarean section due to
    fever, failure to progress remote from delivery. At 1830, PLAINTIFF CRYSTAL CLARK
    was taken to the operating room for a cesarean section due to failure to progress, Category II
    tracing and fever. The infant was delivered at 1854 with Apgars 0/0. Resuscitative efforts were
    unsuccessful and RAKELL HINTON, a minor deceased died approximately 25 minutes after
    delivery at 1929 from infection and likely ongoing fetal hypoxia.

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20. On or about January 7, 2018 and at all times material, DEFENDANTS SHARON A.
    WALLACE – WILLIAMS, MARJORIE GINOY MICHEL, M.D., LISA DE JUANA
    DANIEL, M.D., GUADALUPE GARCIA a/k/a NINA GUADALUPE GARCIA,
    ADVOCATE, CHICAGO FAMILY HEALTH, WOMEN HEALTHCARE, DARA
    THERESE NUZZO, R.N., and/or others were involved in and provided care, treatment,
    assessment and evaluation to PLAINTIFF CRYSTAL CLARK and RAKELL HINTON, a
    minor deceased.

21. 22. On or about January 5, 2018 through January 7, 2018, and at all times material, ASTER
    LOHA, R.N., NAOMI O. SANNI, R.N., MONICA NICHELE CARTER, R.N., SHARON A.
    WALLACE – WILLIAMS, GUADALUPE GARCIA a/k/a NINA GUADALUPE GARCIA,
    MARSHA ANGELLA RODNEY, R.N., LUCY N. KARBEAH, R.N., MARJORIE GINOY
    MICHEL, M.D., DARA THERESE NUZZO, R.N., and/or others were agents and/or
    employees of DEFENDANT ADVOCATE

22. On or about January 5, 2018 through January 7, 2018, and at all times material, the care,
    treatment, assessment and evaluation to PLAINTIFF CRYSTAL CLARK and RAKELL
    HINTON, a minor deceased by ASTER LOHA, R.N., NAOMI O. SANNI, R.N., MONICA
    NICHELE CARTER, R.N., SHARON A. WALLACE – WILLIAMS, GUADALUPE
    GARCIA a/k/a NINA GUADALUPE GARCIA, MARSHA ANGELLA RODNEY, R.N.,
    LUCY N. KARBEAH, R.N., MARJORIE GINOY MICHEL, M.D., DARA THERESE
    NUZZO, R.N., and/or others was in the course and scope of their employment with
    DEFENDANT ADVOCATE.

23. On or about December 27, 2019, and earlier a Form 95 was timely submitted for this cause of
    action, and receipt of that Form 95 was stamped December 27, 2019. To date, the federal
    government has not rejected the claim.

24. On or about March 12, 2020, LISA DE JUANA DANIEL, M.D., MARJORIE GINOY
    MICHEL, M.D., MARIE-TERESA CHRISTOPHE COLBERT, M.D. and CHICAGO
    FAMILY HEALTH CENTER were dismissed from the Complaint at Law without prejudice
    and with the right to refile against LISA DE JUANA DANIEL, M.D., MARJORIE GINOY
    MICHEL, M.D., MARIE-TERESA CHRISTOPHE COLBERT, M.D. and CHICAGO
    FAMILY HEALTH CENTER pursuant to an Agreed Order with counsel for LISA DE
    JUANA DANIEL, M.D., MARJORIE GINOY MICHEL, M.D., MARIE-TERESA
    CHRISTOPHE COLBERT, M.D. and CHICAGO FAMILY HEALTH CENTER.




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                                COUNT I
                              Wrongful Death
    (ADVOCATE HEALTH AND HOSPITALS CORPORATION d/b/a ADVOCATE
    TRINITY HOSPITAL, d/b/a ADVOCATE MEDICAL GROUP d/b/a ADVOCATE
                     CHILDREN’S MEDICAL GROUP)

1-24. Plaintiff re-alleges and incorporates herein after by reference the allegations set forth in
    paragraph 1-24 of this Complaint.

25. On or about January 3, 2018 through January 7, 2018, and/or at all times material, Defendant,
    ADVOCATE, had a duty to possess and apply the knowledge and use the skill of reasonably
    well qualified health care provider under the same or similar circumstances.

26. On or about January 3, 2018 through January 7, 2018, and/or at all times material, Defendant,
    ADVOCATE, employed doctors, nurses, medical providers and/or agents including, without
    limit, MARIE-TERESA CHRISTOPHE COLBERT, M.D., LISA DE JUANA DANIEL,
    M.D., ASTER LOHA, R.N., NAOMI O. SANNI, R.N., MONICA NICHELE CARTER, R.N.,
    SHARON A. WALLACE – WILLIAMS, GUADALUPE GARCIA a/k/a NINA
    GUADALUPE GARCIA, MARSHA ANGELLA RODNEY, R.N., LUCY N. KARBEAH,
    R.N., MARJORIE GINOY MICHEL, M.D., DARA THERESE NUZZO, R.N., and/or others.

27. On or about January 3, 2018 through January 7, 2018, and/or at all times material, the doctors,
    nurses, medical providers and/or agents including, without limit MARIE-TERESA
    CHRISTOPHE COLBERT, M.D., LISA DE JUANA DANIEL, M.D., ASTER LOHA, R.N.,
    NAOMI O. SANNI, R.N., MONICA NICHELE CARTER, R.N., SHARON A. WALLACE –
    WILLIAMS, GUADALUPE GARCIA a/k/a NINA GUADALUPE GARCIA, MARSHA
    ANGELLA RODNEY, R.N., LUCY N. KARBEAH, R.N., MARJORIE GINOY MICHEL,
    M.D., DARA THERESE NUZZO, R.N., and/or others were acting in the course and scope of
    their employment with Defendant, ADVOCATE, when they provided PLAINTIFF CRYSTAL
    CLARK and RAKELL HINTON, a minor deceased with care, treatment, assessment and
    evaluation.

28. On or about January 3, 2018 through January 7, 2018, and/or at all times material, Defendant,
    ADVOCATE individually and/or by and through its doctors, nurses, medical providers, and/or
    agents including, without limit, MARIE-TERESA CHRISTOPHE COLBERT, M.D., LISA
    DE JUANA DANIEL, M.D., ASTER LOHA, R.N., NAOMI O. SANNI, R.N., MONICA
    NICHELE CARTER, R.N., SHARON A. WALLACE – WILLIAMS, GUADALUPE
    GARCIA a/k/a NINA GUADALUPE GARCIA, MARSHA ANGELLA RODNEY, R.N.,
    LUCY N. KARBEAH, R.N., MARJORIE GINOY MICHEL, M.D., DARA THERESE
    NUZZO, R.N. and/or others provided health care and treatment to PLAINTIFF CRYSTAL
    CLARK and RAKELL HINTON, a minor deceased.




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29. On or about January 5, 2018 through January 7, 2018, and/or at all times material,
    ADVOCATE individually, were then and there negligent in: failing to have, implement
    and/or require the adherence to reasonable policies, procedures and protocols.
30. On or about January 5, 2018 through January 7, 2018, and/or at all times material,
    ADVOCATE by and through its doctors, medical providers, and/or agents including, without
    limit, MARIE-TERESA CHRISTOPHE COLBERT, M.D., LISA DE JUANA DANIEL,
    M.D., MARJORIE GINOY MICHEL, M.D., and/or others, and each of them, were then and
    there negligent in one or more of the following respects:

   a. failing to have, implement, follow and/or require the adherence to reasonable policies,
      procedures and protocols;
   b. failing to reasonably examine and assess PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased;
   c. failing to adequately and/or timely investigate PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   d. failing to recognize the significance of PLAINTIFF CRYSTAL CLARK and/or RAKELL
      HINTON a minor deceased signs, symptoms, condition and/or complaints;
   e. failing to recognize changes in PLAINTIFF CRYSTAL CLARK and/or RAKELL
      HINTON a minor deceased signs, symptoms, condition and/or complaints;
   f. failing to recognize the significance of changes in PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   g. failing to adequately and timely diagnose PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   h. failing to adequately and timely recognize the need to make a timely diagnosis of
      PLAINTIFF CRYSTAL CLARK and/or RAKELL HINTON a minor deceased signs,
      symptoms, condition and/or complaints;
   i. failing to notify other medical providers of PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   j. failing to timely notify other medical providers of PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints
   k. failing to notify other medical providers of changes in PLAINTIFF CRYSTAL CLARK
      and/or RAKELL HINTON a minor deceased signs, symptoms, condition and/or
      complaints;
   l. failing to timely notify other medical providers of changes in PLAINTIFF CRYSTAL
      CLARK and/or RAKELL HINTON a minor deceased signs, symptoms, condition and/or
      complaints;
   m. failing to notify PLAINTIFF CRYSTAL CLARK of the significance of her and/or
      RAKELL HINTON’s a minor deceased signs, symptoms, condition and/or complaints;
   n. failing to notify PLAINTIFF CRYSTAL CLARK of the need for timely care, treatment
      and/or cesarean delivery of RAKELL HINTON a minor deceased;
   o. failing to timely ensure that RAKELL HINTON received a timely cesarean delivery;
   p. Continuing to provide PLAINTIFF CRYSTAL CLARK and/or RAKELL HINTON with
      certain unreasonable treatment and not ensuring that RAKELL HINTON received a timely
      cesarean delivery; and/or
   q. Were otherwise negligent.


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31. On or about January 5, 2018 through January 7, 2018, and/or at all times material,
    ADVOCATE by and through its nurses, medical providers, and/or agents including, without
    limit, ASTER LOHA, R.N., NAOMI O. SANNI, R.N., MONICA NICHELE CARTER, R.N.,
    SHARON A. WALLACE – WILLIAMS, GUADALUPE GARCIA a/k/a NINA
    GUADALUPE GARCIA, MARSHA ANGELLA RODNEY, R.N., LUCY N. KARBEAH,
    R.N., DARA THERESE NUZZO, R.N. and/or others, and each of them, were then and there
    negligent in one or more of the following respects:

   a. failing to have, implement, follow and/or require the adherence to reasonable policies,
      procedures and protocols;
   b. failing to reasonably examine and assess PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased;
   c. failing to adequately and/or timely investigate PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   d. failing to recognize the significance of PLAINTIFF CRYSTAL CLARK and/or RAKELL
      HINTON a minor deceased signs, symptoms, condition and/or complaints;
   e. failing to recognize changes in PLAINTIFF CRYSTAL CLARK and/or RAKELL
      HINTON a minor deceased signs, symptoms, condition and/or complaints;
   f. failing to recognize the significance of changes in PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   g. failing to adequately and timely diagnose PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   h. failing to adequately and timely recognize the need to make a timely diagnosis of
      PLAINTIFF CRYSTAL CLARK and/or RAKELL HINTON a minor deceased signs,
      symptoms, condition and/or complaints;
   i. failing to notify other medical providers of PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   j. failing to timely notify other medical providers of PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints
   k. failing to notify other medical providers of changes in PLAINTIFF CRYSTAL CLARK
      and/or RAKELL HINTON a minor deceased signs, symptoms, condition and/or
      complaints;
   l. failing to timely notify other medical providers of changes in PLAINTIFF CRYSTAL
      CLARK and/or RAKELL HINTON a minor deceased signs, symptoms, condition and/or
      complaints;
   m. failing to notify PLAINTIFF CRYSTAL CLARK of the significance of her and/or
      RAKELL HINTON’s a minor deceased signs, symptoms, condition and/or complaints;
   n. failing to notify PLAINTIFF CRYSTAL CLARK of the need for timely care, treatment
      and/or cesarean delivery of RAKELL HINTON a minor deceased;
   o. failing to timely advocate that RAKELL HINTON received a timely cesarean delivery;
   p. Continuing to provide PLAINTIFF CRYSTAL CLARK and/or RAKELL HINTON with
      certain unreasonable treatment and not advocating for RAKELL HINTON to receive a
      timely cesarean delivery; and/or
   q. Were otherwise negligent.




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32. As a direct and proximate result of the aforementioned negligent acts and/or omissions of
    Defendant, ADVOCATE individually and/or by and through its doctors, nurses, medical
    providers, and/or agents including, without limit, MARIE-TERESA CHRISTOPHE
    COLBERT, M.D., LISA DE JUANA DANIEL, M.D., ASTER LOHA, R.N., NAOMI O.
    SANNI, R.N., MONICA NICHELE CARTER, R.N., SHARON A. WALLACE –
    WILLIAMS, GUADALUPE GARCIA a/k/a NINA GUADALUPE GARCIA, MARSHA
    ANGELLA RODNEY, R.N., LUCY N. KARBEAH, R.N., MARJORIE GINOY MICHEL,
    M.D., DARA THERESE NUZZO, R.N. and/or others, and each of them, RAKELL HINTON
    suffered injury and died.

33. As a proximate result of one or more of the aforesaid negligent acts or omissions of Defendant,
    ADVOCATE individually and/or by and through its doctors, nurses, medical providers, and/or
    agents including, without limit, MARIE-TERESA CHRISTOPHE COLBERT, M.D., LISA
    DE JUANA DANIEL, M.D., ASTER LOHA, R.N., NAOMI O. SANNI, R.N., MONICA
    NICHELE CARTER, R.N., SHARON A. WALLACE – WILLIAMS, GUADALUPE
    GARCIA a/k/a NINA GUADALUPE GARCIA, MARSHA ANGELLA RODNEY, R.N.,
    LUCY N. KARBEAH, R.N., MARJORIE GINOY MICHEL, M.D., DARA THERESE
    NUZZO, R.N. and/or others, and each of them, RAKELL HINTON a minor deceased, left
    surviving: CRYSTAL CLARK, mother; RASHEED HINTON father; and siblings: Rasheed
    Hinton, Rashaud Hinton, Raheem Hinton, Rakeem Hinton, Ramean Hinton, and Rasheeda
    Hinton.

34. Pursuant to Illinois Code of Civil Procedure, Section 2-622, the affidavit of Attorney for
    Plaintiff is attached hereto as “Exhibit A”.

35. Pursuant to Illinois Code of Civil Procedure, Section 2-622, reports of healthcare professionals
    are attached hereto as “Exhibit B”.

36. That as a proximate result of the death of RAKELL HINTON a minor deceased, his family
    have been deprived of the love, companionship, and emotional support and have suffered
    injuries of a personal and pecuniary nature, and suffered grief and sorrow.

37. RASHEED HINTON and CRYSTAL CLARK and as Co-Special Administrators of the Estate
    of RAKELL HINTON, a minor, deceased, brings this cause of action on behalf of the Estate
    of the decedent pursuant to 740 ILCS 180/1, commonly known as the Wrongful Death Act of
    Illinois.
   WHEREFORE Plaintiff, RASHEED HINTON and CRYSTAL CLARK as Co-Special

Administrators of the Estate of RAKELL HINTON, a minor, deceased, by and through their

attorneys, SMITH LACIEN LLP, demands judgment against Defendants, ADVOCATE HEALTH

AND HOSPITALS CORPORATION d/b/a ADVOCATE TRINITY HOSPITAL, d/b/a

ADVOCATE MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S MEDICAL GROUP,


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individually and/or by and through its doctors, nurses, medical providers, and/or agents including

without limit MARIE-TERESA CHRISTOPHE COLBERT, M.D., LISA DE JUANA DANIEL,

M.D., ASTER LOHA, R.N., NAOMI O. SANNI, R.N., MONICA NICHELE CARTER, R.N.,

SHARON A. WALLACE – WILLIAMS, GUADALUPE GARCIA a/k/a NINA GUADALUPE

GARCIA, MARSHA ANGELLA RODNEY, R.N., LUCY N. KARBEAH, R.N., MARJORIE

GINOY MICHEL, M.D., DARA THERESE NUZZO, R.N. and/or others, and each of them, in a

sum of money in excess of FIFTY THOUSAND DOLLARS ($50,000).




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                                        COUNT II
                                       Wrongful Death
                                    (ASTER LOHA, R.N.)

1-24. Plaintiff re-alleges and incorporates herein after by reference the allegations set forth in
paragraph 1-24 of this Complaint.

25. On or about January 3, 2018 through January 7, 2018, and/or at all times material, Defendant,
    ASTER LOHA, R.N. individually and/or as an agent and/or employee of ADVOCATE
    HEALTH AND HOSPITALS CORPORATION d/b/a ADVOCATE TRINITY HOSPITAL,
    d/b/a ADVOCATE MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S MEDICAL
    GROUP, had a duty to possess and apply the knowledge and use the skill of reasonably well
    qualified health care provider under the same or similar circumstances.

26. On or about January 5, 2018 through January 7, 2018, and/or at all times material, Defendant,
    ASTER LOHA, R.N. individually and/or as an agent and/or employee of ADVOCATE
    HEALTH AND HOSPITALS CORPORATION d/b/a ADVOCATE TRINITY HOSPITAL,
    d/b/a ADVOCATE MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S MEDICAL
    GROUP, and each of them, were then and there negligent in one or more of the following
    respects:

   a. failing to have, implement and/or require the adherence to reasonable policies, procedures
      and protocols;
   b. failing to reasonably examine and assess PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased;
   c. failing to adequately and/or timely investigate PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   d. failing to recognize the significance of PLAINTIFF CRYSTAL CLARK and/or RAKELL
      HINTON a minor deceased signs, symptoms, condition and/or complaints;
   e. failing to recognize changes in PLAINTIFF CRYSTAL CLARK and/or RAKELL
      HINTON a minor deceased signs, symptoms, condition and/or complaints;
   f. failing to recognize the significance of changes in PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   g. failing to adequately and timely diagnose PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   h. failing to adequately and timely recognize the need to make a timely diagnosis of
      PLAINTIFF CRYSTAL CLARK and/or RAKELL HINTON a minor deceased signs,
      symptoms, condition and/or complaints;
   i. failing to notify other medical providers of PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   j. failing to timely notify other medical providers of PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints

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   k. failing to notify other medical providers of changes in PLAINTIFF CRYSTAL CLARK
      and/or RAKELL HINTON a minor deceased signs, symptoms, condition and/or
      complaints;
   l. failing to timely notify other medical providers of changes in PLAINTIFF CRYSTAL
      CLARK and/or RAKELL HINTON a minor deceased signs, symptoms, condition and/or
      complaints;
   m. failing to notify PLAINTIFF CRYSTAL CLARK of the significance of her and/or
      RAKELL HINTON’s a minor deceased signs, symptoms, condition and/or complaints;
   n. failing to notify PLAINTIFF CRYSTAL CLARK of the need for timely care, treatment
      and/or cesarean delivery of RAKELL HINTON a minor deceased;
   o. failing to timely ensure that RAKELL HINTON received a timely cesarean delivery;
   p. Continuing to provide PLAINTIFF CRYSTAL CLARK and/or RAKELL HINTON with
      certain unreasonable treatment and not ensuring that RAKELL HINTON received a timely
      cesarean delivery; and/or
   q. Were otherwise negligent.

27. As a direct and proximate result of the aforementioned negligent acts and/or omissions of
    Defendant, Defendant, ASTER LOHA, R.N. individually and/or as an agent and/or employee
    of ADVOCATE HEALTH AND HOSPITALS CORPORATION d/b/a ADVOCATE
    TRINITY HOSPITAL, d/b/a ADVOCATE MEDICAL GROUP d/b/a ADVOCATE
    CHILDREN’S MEDICAL GROUP, and each of them, RAKELL HINTON suffered injury
    and died.

28. As a proximate result of one or more of the aforesaid negligent acts or omissions of Defendant,
    ASTER LOHA, R.N. individually and/or as an agent and/or employee of ADVOCATE
    HEALTH AND HOSPITALS CORPORATION d/b/a ADVOCATE TRINITY HOSPITAL,
    d/b/a ADVOCATE MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S MEDICAL
    GROUP, and each of them,, RAKELL HINTON a minor deceased, left surviving: CRYSTAL
    CLARK, mother; RASHEED HINTON father; and siblings: Rasheed Hinton, Rashaud Hinton,
    Raheem Hinton, Rakeem Hinton, Ramean Hinton, and Rasheeda Hinton.

29. Pursuant to Illinois Code of Civil Procedure, Section 2-622, the affidavit of Attorney for
    Plaintiff is attached hereto as “Exhibit A”.

30. Pursuant to Illinois Code of Civil Procedure, Section 2-622, reports of healthcare professionals
    are attached hereto as “Exhibit B”.

31. That as a proximate result of the death of RAKELL HINTON a minor deceased, his family
    have been deprived of the love, companionship, and emotional support and have suffered
    injuries of a personal and pecuniary nature, and suffered grief and sorrow.

32. RASHEED HINTON and CRYSTAL CLARK and as Co-Special Administrators of the Estate
    of RAKELL HINTON, a minor, deceased, brings this cause of action on behalf of the Estate
    of the decedent pursuant to 740 ILCS 180/1, commonly known as the Wrongful Death Act of
    Illinois.


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        WHEREFORE Plaintiff, RASHEED HINTON and CRYSTAL CLARK and as Co-
Special Administrators of the Estate of RAKELL HINTON, a minor, deceased, by and through
their attorneys, SMITH LACIEN LLP, demands judgment against Defendants, ASTER LOHA,
R.N. individually and/or as an agent and/or employee of ADVOCATE HEALTH AND
HOSPITALS CORPORATION d/b/a ADVOCATE TRINITY HOSPITAL, d/b/a ADVOCATE
MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S MEDICAL GROUP, and each of them,
in a sum of money in excess of FIFTY THOUSAND DOLLARS ($50,000).




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                                       COUNT III
                                      Wrongful Death
                                  (NAOMI O. SANNI, R.N.)

1-24. Plaintiff re-alleges and incorporates herein after by reference the allegations set forth in
paragraph 1-24 of this Complaint.

25. On or about January 3, 2018 through January 7, 2018, and/or at all times material, Defendant,
    NAOMI O. SANNI, R.N. individually and/or as an agent and/or employee of ADVOCATE
    HEALTH AND HOSPITALS CORPORATION d/b/a ADVOCATE TRINITY HOSPITAL,
    d/b/a ADVOCATE MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S MEDICAL
    GROUP, had a duty to possess and apply the knowledge and use the skill of reasonably well
    qualified health care provider under the same or similar circumstances.

26. On or about January 5, 2018 through January 7, 2018, and/or at all times material, Defendant,
    NAOMI O. SANNI, R.N. individually and/or as an agent and/or employee of ADVOCATE
    HEALTH AND HOSPITALS CORPORATION d/b/a ADVOCATE TRINITY HOSPITAL,
    d/b/a ADVOCATE MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S MEDICAL
    GROUP, and each of them, were then and there negligent in one or more of the following
    respects:

   a. failing to have, implement and/or require the adherence to reasonable policies, procedures
      and protocols;
   b. failing to reasonably examine and assess PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased;
   c. failing to adequately and/or timely investigate PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   d. failing to recognize the significance of PLAINTIFF CRYSTAL CLARK and/or RAKELL
      HINTON a minor deceased signs, symptoms, condition and/or complaints;
   e. failing to recognize changes in PLAINTIFF CRYSTAL CLARK and/or RAKELL
      HINTON a minor deceased signs, symptoms, condition and/or complaints;
   f. failing to recognize the significance of changes in PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   g. failing to adequately and timely diagnose PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   h. failing to adequately and timely recognize the need to make a timely diagnosis of
      PLAINTIFF CRYSTAL CLARK and/or RAKELL HINTON a minor deceased signs,
      symptoms, condition and/or complaints;
   i. failing to notify other medical providers of PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   j. failing to timely notify other medical providers of PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints
   k. failing to notify other medical providers of changes in PLAINTIFF CRYSTAL CLARK
      and/or RAKELL HINTON a minor deceased signs, symptoms, condition and/or
      complaints;



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   l. failing to timely notify other medical providers of changes in PLAINTIFF CRYSTAL
      CLARK and/or RAKELL HINTON a minor deceased signs, symptoms, condition and/or
      complaints;
   m. failing to notify PLAINTIFF CRYSTAL CLARK of the significance of her and/or
      RAKELL HINTON’s a minor deceased signs, symptoms, condition and/or complaints;
   n. failing to notify PLAINTIFF CRYSTAL CLARK of the need for timely care, treatment
      and/or cesarean delivery of RAKELL HINTON a minor deceased;
   o. failing to timely ensure that RAKELL HINTON received a timely cesarean delivery;
   p. Continuing to provide PLAINTIFF CRYSTAL CLARK and/or RAKELL HINTON with
      certain unreasonable treatment and not ensuring that RAKELL HINTON received a timely
      cesarean delivery; and/or
   q. Were otherwise negligent.

27. As a direct and proximate result of the aforementioned negligent acts and/or omissions of
    Defendant, Defendant, NAOMI O. SANNI, R.N. individually and/or as an agent and/or
    employee of ADVOCATE HEALTH AND HOSPITALS CORPORATION d/b/a
    ADVOCATE TRINITY HOSPITAL, d/b/a ADVOCATE MEDICAL GROUP d/b/a
    ADVOCATE CHILDREN’S MEDICAL GROUP, and each of them, RAKELL HINTON
    suffered injury and died.

28. As a proximate result of one or more of the aforesaid negligent acts or omissions of Defendant,
    NAOMI O. SANNI, R.N. individually and/or as an agent and/or employee of ADVOCATE
    HEALTH AND HOSPITALS CORPORATION d/b/a ADVOCATE TRINITY HOSPITAL,
    d/b/a ADVOCATE MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S MEDICAL
    GROUP, and each of them,, RAKELL HINTON a minor deceased, left surviving: CRYSTAL
    CLARK, mother; RASHEED HINTON father; and siblings: Rasheed Hinton, Rashaud Hinton,
    Raheem Hinton, Rakeem Hinton, Ramean Hinton, and Rasheeda Hinton.

29. Pursuant to Illinois Code of Civil Procedure, Section 2-622, the affidavit of Attorney for
    Plaintiff is attached hereto as “Exhibit A”.

30. Pursuant to Illinois Code of Civil Procedure, Section 2-622, reports of healthcare professionals
    are attached hereto as “Exhibit B”.

31. That as a proximate result of the death of RAKELL HINTON a minor deceased, his family
    have been deprived of the love, companionship, and emotional support and have suffered
    injuries of a personal and pecuniary nature, and suffered grief and sorrow.

32. RASHEED HINTON and CRYSTAL CLARK and as Co-Special Administrators of the Estate
    of RAKELL HINTON, a minor, deceased, brings this cause of action on behalf of the Estate
    of the decedent pursuant to 740 ILCS 180/1, commonly known as the Wrongful Death Act of
    Illinois.

WHEREFORE Plaintiff, RASHEED HINTON and CRYSTAL CLARK and as Co-Special
Administrators of the Estate of RAKELL HINTON, a minor, deceased, by and through their
attorneys, SMITH LACIEN LLP, demands judgment against Defendants, NAOMI O. SANNI,

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R.N. individually and/or as an agent and/or employee of ADVOCATE HEALTH AND
HOSPITALS CORPORATION d/b/a ADVOCATE TRINITY HOSPITAL, d/b/a ADVOCATE
MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S MEDICAL GROUP, and each of them,
in a sum of money in excess of FIFTY THOUSAND DOLLARS ($50,000).




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                                     COUNT IV
                                   Wrongful Death
                           (MONICA NICHELE CARTER, R.N.)

1-24. Plaintiff re-alleges and incorporates herein after by reference the allegations set forth in
paragraph 1-24 of this Complaint.

25. On or about January 3, 2018 through January 7, 2018, and/or at all times material, Defendant,
    MONICA NICHELE CARTER, R.N. individually and/or as an agent and/or employee of
    ADVOCATE HEALTH AND HOSPITALS CORPORATION d/b/a ADVOCATE TRINITY
    HOSPITAL, d/b/a ADVOCATE MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S
    MEDICAL GROUP, had a duty to possess and apply the knowledge and use the skill of
    reasonably well qualified health care provider under the same or similar circumstances.

26. On or about January 5, 2018 through January 7, 2018, and/or at all times material, Defendant,
    MONICA NICHELE CARTER, R.N. individually and/or as an agent and/or employee of
    ADVOCATE HEALTH AND HOSPITALS CORPORATION d/b/a ADVOCATE TRINITY
    HOSPITAL, d/b/a ADVOCATE MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S
    MEDICAL GROUP, and each of them, were then and there negligent in one or more of the
    following respects:

   a. failing to have, implement and/or require the adherence to reasonable policies, procedures
      and protocols;
   b. failing to reasonably examine and assess PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased;
   c. failing to adequately and/or timely investigate PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   d. failing to recognize the significance of PLAINTIFF CRYSTAL CLARK and/or RAKELL
      HINTON a minor deceased signs, symptoms, condition and/or complaints;
   e. failing to recognize changes in PLAINTIFF CRYSTAL CLARK and/or RAKELL
      HINTON a minor deceased signs, symptoms, condition and/or complaints;
   f. failing to recognize the significance of changes in PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   g. failing to adequately and timely diagnose PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   h. failing to adequately and timely recognize the need to make a timely diagnosis of
      PLAINTIFF CRYSTAL CLARK and/or RAKELL HINTON a minor deceased signs,
      symptoms, condition and/or complaints;
   i. failing to notify other medical providers of PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   j. failing to timely notify other medical providers of PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints
   k. failing to notify other medical providers of changes in PLAINTIFF CRYSTAL CLARK
      and/or RAKELL HINTON a minor deceased signs, symptoms, condition and/or
      complaints;



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   l. failing to timely notify other medical providers of changes in PLAINTIFF CRYSTAL
      CLARK and/or RAKELL HINTON a minor deceased signs, symptoms, condition and/or
      complaints;
   m. failing to notify PLAINTIFF CRYSTAL CLARK of the significance of her and/or
      RAKELL HINTON’s a minor deceased signs, symptoms, condition and/or complaints;
   n. failing to notify PLAINTIFF CRYSTAL CLARK of the need for timely care, treatment
      and/or cesarean delivery of RAKELL HINTON a minor deceased;
   o. failing to timely ensure that RAKELL HINTON received a timely cesarean delivery;
   p. Continuing to provide PLAINTIFF CRYSTAL CLARK and/or RAKELL HINTON with
      certain unreasonable treatment and not ensuring that RAKELL HINTON received a timely
      cesarean delivery; and/or
   q. Were otherwise negligent.

27. As a direct and proximate result of the aforementioned negligent acts and/or omissions of
    Defendant, Defendant, MONICA NICHELE CARTER, R.N. individually and/or as an agent
    and/or employee of ADVOCATE HEALTH AND HOSPITALS CORPORATION d/b/a
    ADVOCATE TRINITY HOSPITAL, d/b/a ADVOCATE MEDICAL GROUP d/b/a
    ADVOCATE CHILDREN’S MEDICAL GROUP, and each of them, RAKELL HINTON
    suffered injury and died.

28. As a proximate result of one or more of the aforesaid negligent acts or omissions of Defendant,
    MONICA NICHELE CARTER, R.N. individually and/or as an agent and/or employee of
    ADVOCATE HEALTH AND HOSPITALS CORPORATION d/b/a ADVOCATE TRINITY
    HOSPITAL, d/b/a ADVOCATE MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S
    MEDICAL GROUP, and each of them,, RAKELL HINTON a minor deceased, left surviving:
    CRYSTAL CLARK, mother; RASHEED HINTON father; and siblings: Rasheed Hinton,
    Rashaud Hinton, Raheem Hinton, Rakeem Hinton, Ramean Hinton, and Rasheeda Hinton.

29. Pursuant to Illinois Code of Civil Procedure, Section 2-622, the affidavit of Attorney for
    Plaintiff is attached hereto as “Exhibit A”.

30. Pursuant to Illinois Code of Civil Procedure, Section 2-622, reports of healthcare professionals
    are attached hereto as “Exhibit B”.

31. That as a proximate result of the death of RAKELL HINTON a minor deceased, his family
    have been deprived of the love, companionship, and emotional support and have suffered
    injuries of a personal and pecuniary nature, and suffered grief and sorrow.

32. RASHEED HINTON and CRYSTAL CLARK and as Co-Special Administrators of the Estate
    of RAKELL HINTON, a minor, deceased, brings this cause of action on behalf of the Estate
    of the decedent pursuant to 740 ILCS 180/1, commonly known as the Wrongful Death Act of
    Illinois.




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WHEREFORE Plaintiff, RASHEED HINTON and CRYSTAL CLARK and as Co-Special
Administrators of the Estate of RAKELL HINTON, a minor, deceased, by and through their
attorneys, SMITH LACIEN LLP, demands judgment against Defendants, MONICA NICHELE
CARTER, R.N. individually and/or as an agent and/or employee of ADVOCATE HEALTH AND
HOSPITALS CORPORATION d/b/a ADVOCATE TRINITY HOSPITAL, d/b/a ADVOCATE
MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S MEDICAL GROUP, and each of them,
in a sum of money in excess of FIFTY THOUSAND DOLLARS ($50,000).




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                                     COUNT V
                                   Wrongful Death
                        (SHARON A. WALLACE-WILLIAMS, R.N.)

1-24. Plaintiff re-alleges and incorporates herein after by reference the allegations set forth in
paragraph 1-24 of this Complaint.

25. On or about January 3, 2018 through January 7, 2018, and/or at all times material, Defendant,
    SHARON A. WALLACE-WILLIAMS, R.N. individually and/or as an agent and/or employee
    of ADVOCATE HEALTH AND HOSPITALS CORPORATION d/b/a ADVOCATE
    TRINITY HOSPITAL, d/b/a ADVOCATE MEDICAL GROUP d/b/a ADVOCATE
    CHILDREN’S MEDICAL GROUP, had a duty to possess and apply the knowledge and use
    the skill of reasonably well qualified health care provider under the same or similar
    circumstances.

24. On or about January 5, 2018 through January 7, 2018, and/or at all times material, Defendant,
    SHARON A. WALLACE-WILLIAMS, R.N. individually and/or as an agent and/or employee
    of ADVOCATE HEALTH AND HOSPITALS CORPORATION d/b/a ADVOCATE
    TRINITY HOSPITAL, d/b/a ADVOCATE MEDICAL GROUP d/b/a ADVOCATE
    CHILDREN’S MEDICAL GROUP, and each of them, were then and there negligent in one
    or more of the following respects:

   a. failing to have, implement and/or require the adherence to reasonable policies, procedures
      and protocols;
   b. failing to reasonably examine and assess PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased;
   c. failing to adequately and/or timely investigate PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   d. failing to recognize the significance of PLAINTIFF CRYSTAL CLARK and/or RAKELL
      HINTON a minor deceased signs, symptoms, condition and/or complaints;
   e. failing to recognize changes in PLAINTIFF CRYSTAL CLARK and/or RAKELL
      HINTON a minor deceased signs, symptoms, condition and/or complaints;
   f. failing to recognize the significance of changes in PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   g. failing to adequately and timely diagnose PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   h. failing to adequately and timely recognize the need to make a timely diagnosis of
      PLAINTIFF CRYSTAL CLARK and/or RAKELL HINTON a minor deceased signs,
      symptoms, condition and/or complaints;
   i. failing to notify other medical providers of PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   j. failing to timely notify other medical providers of PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints
   k. failing to notify other medical providers of changes in PLAINTIFF CRYSTAL CLARK
      and/or RAKELL HINTON a minor deceased signs, symptoms, condition and/or
      complaints;

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   l. failing to timely notify other medical providers of changes in PLAINTIFF CRYSTAL
      CLARK and/or RAKELL HINTON a minor deceased signs, symptoms, condition and/or
      complaints;
   m. failing to notify PLAINTIFF CRYSTAL CLARK of the significance of her and/or
      RAKELL HINTON’s a minor deceased signs, symptoms, condition and/or complaints;
   n. failing to notify PLAINTIFF CRYSTAL CLARK of the need for timely care, treatment
      and/or cesarean delivery of RAKELL HINTON a minor deceased;
   o. failing to timely ensure that RAKELL HINTON received a timely cesarean delivery;
   p. Continuing to provide PLAINTIFF CRYSTAL CLARK and/or RAKELL HINTON with
      certain unreasonable treatment and not ensuring that RAKELL HINTON received a timely
      cesarean delivery; and/or
   q. Were otherwise negligent.

25. As a direct and proximate result of the aforementioned negligent acts and/or omissions of
    Defendant, Defendant, SHARON A. WALLACE-WILLIAMS, R.N. individually and/or as an
    agent and/or employee of ADVOCATE HEALTH AND HOSPITALS CORPORATION d/b/a
    ADVOCATE TRINITY HOSPITAL, d/b/a ADVOCATE MEDICAL GROUP d/b/a
    ADVOCATE CHILDREN’S MEDICAL GROUP, and each of them, RAKELL HINTON
    suffered injury and died.

26. As a proximate result of one or more of the aforesaid negligent acts or omissions of Defendant,
    SHARON A. WALLACE-WILLIAMS, R.N. individually and/or as an agent and/or employee
    of ADVOCATE HEALTH AND HOSPITALS CORPORATION d/b/a ADVOCATE
    TRINITY HOSPITAL, d/b/a ADVOCATE MEDICAL GROUP d/b/a ADVOCATE
    CHILDREN’S MEDICAL GROUP, and each of them,, RAKELL HINTON a minor deceased,
    left surviving: CRYSTAL CLARK, mother; RASHEED HINTON father; and siblings:
    Rasheed Hinton, Rashaud Hinton, Raheem Hinton, Rakeem Hinton, Ramean Hinton, and
    Rasheeda Hinton.

27. Pursuant to Illinois Code of Civil Procedure, Section 2-622, the affidavit of Attorney for
    Plaintiff is attached hereto as “Exhibit A”.

28. Pursuant to Illinois Code of Civil Procedure, Section 2-622, reports of healthcare professionals
    are attached hereto as “Exhibit B”.

29. That as a proximate result of the death of RAKELL HINTON a minor deceased, his family
    have been deprived of the love, companionship, and emotional support and have suffered
    injuries of a personal and pecuniary nature, and suffered grief and sorrow.

30. RASHEED HINTON and CRYSTAL CLARK and as Co-Special Administrators of the Estate
    of RAKELL HINTON, a minor, deceased, brings this cause of action on behalf of the Estate
    of the decedent pursuant to 740 ILCS 180/1, commonly known as the Wrongful Death Act of
    Illinois.




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WHEREFORE Plaintiff, RASHEED HINTON and CRYSTAL CLARK and as Co-Special
Administrators of the Estate of RAKELL HINTON, a minor, deceased, by and through their
attorneys, SMITH LACIEN LLP, demands judgment against Defendants, SHARON A.
WALLACE-WILLIAMS, R.N. individually and/or as an agent and/or employee of ADVOCATE
HEALTH AND HOSPITALS CORPORATION d/b/a ADVOCATE TRINITY HOSPITAL, d/b/a
ADVOCATE MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S MEDICAL GROUP, and
each of them, in a sum of money in excess of FIFTY THOUSAND DOLLARS ($50,000).




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                               COUNT VI
                             Wrongful Death
             (GUADALUPE GARCIA A/K/A NINA GUADALUPE GARCIA)

1-24. Plaintiff re-alleges and incorporates herein after by reference the allegations set forth in
paragraph 1-24 of this Complaint.

25. On or about January 3, 2018 through January 7, 2018, and/or at all times material, Defendant,
    GUADALUPE GARCIA A/K/A NINA GUADALUPE GARCIA individually and/or as an
    agent and/or employee of ADVOCATE HEALTH AND HOSPITALS CORPORATION d/b/a
    ADVOCATE TRINITY HOSPITAL, d/b/a ADVOCATE MEDICAL GROUP d/b/a
    ADVOCATE CHILDREN’S MEDICAL GROUP, had a duty to possess and apply the
    knowledge and use the skill of reasonably well qualified health care provider under the same
    or similar circumstances.

26. On or about January 5, 2018 through January 7, 2018, and/or at all times material, Defendant,
    GUADALUPE GARCIA A/K/A NINA GUADALUPE GARCIA individually and/or as an
    agent and/or employee of ADVOCATE HEALTH AND HOSPITALS CORPORATION d/b/a
    ADVOCATE TRINITY HOSPITAL, d/b/a ADVOCATE MEDICAL GROUP d/b/a
    ADVOCATE CHILDREN’S MEDICAL GROUP, and each of them, were then and there
    negligent in one or more of the following respects:

   a. failing to have, implement and/or require the adherence to reasonable policies, procedures
      and protocols;
   b. failing to reasonably examine and assess PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased;
   c. failing to adequately and/or timely investigate PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   d. failing to recognize the significance of PLAINTIFF CRYSTAL CLARK and/or RAKELL
      HINTON a minor deceased signs, symptoms, condition and/or complaints;
   e. failing to recognize changes in PLAINTIFF CRYSTAL CLARK and/or RAKELL
      HINTON a minor deceased signs, symptoms, condition and/or complaints;
   f. failing to recognize the significance of changes in PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   g. failing to adequately and timely diagnose PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   h. failing to adequately and timely recognize the need to make a timely diagnosis of
      PLAINTIFF CRYSTAL CLARK and/or RAKELL HINTON a minor deceased signs,
      symptoms, condition and/or complaints;
   i. failing to notify other medical providers of PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   j. failing to timely notify other medical providers of PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints
   k. failing to notify other medical providers of changes in PLAINTIFF CRYSTAL CLARK
      and/or RAKELL HINTON a minor deceased signs, symptoms, condition and/or
      complaints;

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   l. failing to timely notify other medical providers of changes in PLAINTIFF CRYSTAL
      CLARK and/or RAKELL HINTON a minor deceased signs, symptoms, condition and/or
      complaints;
   m. failing to notify PLAINTIFF CRYSTAL CLARK of the significance of her and/or
      RAKELL HINTON’s a minor deceased signs, symptoms, condition and/or complaints;
   n. failing to notify PLAINTIFF CRYSTAL CLARK of the need for timely care, treatment
      and/or cesarean delivery of RAKELL HINTON a minor deceased;
   o. failing to timely ensure that RAKELL HINTON received a timely cesarean delivery;
   p. Continuing to provide PLAINTIFF CRYSTAL CLARK and/or RAKELL HINTON with
      certain unreasonable treatment and not ensuring that RAKELL HINTON received a timely
      cesarean delivery; and/or
   q. Were otherwise negligent.

27. As a direct and proximate result of the aforementioned negligent acts and/or omissions of
    Defendant, Defendant, GUADALUPE GARCIA A/K/A NINA GUADALUPE GARCIA
    individually and/or as an agent and/or employee of ADVOCATE HEALTH AND
    HOSPITALS CORPORATION d/b/a ADVOCATE TRINITY HOSPITAL, d/b/a
    ADVOCATE MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S MEDICAL GROUP,
    and each of them, RAKELL HINTON suffered injury and died.

28. As a proximate result of one or more of the aforesaid negligent acts or omissions of Defendant,
    GUADALUPE GARCIA A/K/A NINA GUADALUPE GARCIA individually and/or as an
    agent and/or employee of ADVOCATE HEALTH AND HOSPITALS CORPORATION d/b/a
    ADVOCATE TRINITY HOSPITAL, d/b/a ADVOCATE MEDICAL GROUP d/b/a
    ADVOCATE CHILDREN’S MEDICAL GROUP, and each of them,, RAKELL HINTON a
    minor deceased, left surviving: CRYSTAL CLARK, mother; RASHEED HINTON father; and
    siblings: Rasheed Hinton, Rashaud Hinton, Raheem Hinton, Rakeem Hinton, Ramean Hinton,
    and Rasheeda Hinton.

29. Pursuant to Illinois Code of Civil Procedure, Section 2-622, the affidavit of Attorney for
    Plaintiff is attached hereto as “Exhibit A”.

30. Pursuant to Illinois Code of Civil Procedure, Section 2-622, reports of healthcare professionals
    are attached hereto as “Exhibit B”.

31. That as a proximate result of the death of RAKELL HINTON a minor deceased, his family
    have been deprived of the love, companionship, and emotional support and have suffered
    injuries of a personal and pecuniary nature, and suffered grief and sorrow.

32. RASHEED HINTON and CRYSTAL CLARK and as Co-Special Administrators of the Estate
    of RAKELL HINTON, a minor, deceased, brings this cause of action on behalf of the Estate
    of the decedent pursuant to 740 ILCS 180/1, commonly known as the Wrongful Death Act of
    Illinois.




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WHEREFORE Plaintiff, RASHEED HINTON and CRYSTAL CLARK and as Co-Special
Administrators of the Estate of RAKELL HINTON, a minor, deceased, by and through their
attorneys, SMITH LACIEN LLP, demands judgment against Defendants, GUADALUPE
GARCIA A/K/A NINA GUADALUPE GARCIA individually and/or as an agent and/or
employee of ADVOCATE HEALTH AND HOSPITALS CORPORATION d/b/a ADVOCATE
TRINITY HOSPITAL, d/b/a ADVOCATE MEDICAL GROUP d/b/a ADVOCATE
CHILDREN’S MEDICAL GROUP, and each of them, in a sum of money in excess of FIFTY
THOUSAND DOLLARS ($50,000).




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                                    COUNT VII
                                   Wrongful Death
                           (MARSHA ANGELLA RODNEY, R.N.)

1-24. Plaintiff re-alleges and incorporates herein after by reference the allegations set forth in
paragraph 1-24 of this Complaint.

25. On or about January 3, 2018 through January 7, 2018, and/or at all times material, Defendant,
    MARSHA ANGELLA RODNEY, R.N. individually and/or as an agent and/or employee of
    ADVOCATE HEALTH AND HOSPITALS CORPORATION d/b/a ADVOCATE TRINITY
    HOSPITAL, d/b/a ADVOCATE MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S
    MEDICAL GROUP, had a duty to possess and apply the knowledge and use the skill of
    reasonably well qualified health care provider under the same or similar circumstances.

26. On or about January 5, 2018 through January 7, 2018, and/or at all times material, Defendant,
    MARSHA ANGELLA RODNEY, R.N. individually and/or as an agent and/or employee of
    ADVOCATE HEALTH AND HOSPITALS CORPORATION d/b/a ADVOCATE TRINITY
    HOSPITAL, d/b/a ADVOCATE MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S
    MEDICAL GROUP, and each of them, were then and there negligent in one or more of the
    following respects:

   a. failing to have, implement and/or require the adherence to reasonable policies, procedures
      and protocols;
   b. failing to reasonably examine and assess PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased;
   c. failing to adequately and/or timely investigate PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   d. failing to recognize the significance of PLAINTIFF CRYSTAL CLARK and/or RAKELL
      HINTON a minor deceased signs, symptoms, condition and/or complaints;
   e. failing to recognize changes in PLAINTIFF CRYSTAL CLARK and/or RAKELL
      HINTON a minor deceased signs, symptoms, condition and/or complaints;
   f. failing to recognize the significance of changes in PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   g. failing to adequately and timely diagnose PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   h. failing to adequately and timely recognize the need to make a timely diagnosis of
      PLAINTIFF CRYSTAL CLARK and/or RAKELL HINTON a minor deceased signs,
      symptoms, condition and/or complaints;
   i. failing to notify other medical providers of PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   j. failing to timely notify other medical providers of PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints
   k. failing to notify other medical providers of changes in PLAINTIFF CRYSTAL CLARK
      and/or RAKELL HINTON a minor deceased signs, symptoms, condition and/or
      complaints;



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   l. failing to timely notify other medical providers of changes in PLAINTIFF CRYSTAL
      CLARK and/or RAKELL HINTON a minor deceased signs, symptoms, condition and/or
      complaints;
   m. failing to notify PLAINTIFF CRYSTAL CLARK of the significance of her and/or
      RAKELL HINTON’s a minor deceased signs, symptoms, condition and/or complaints;
   n. failing to notify PLAINTIFF CRYSTAL CLARK of the need for timely care, treatment
      and/or cesarean delivery of RAKELL HINTON a minor deceased;
   o. failing to timely ensure that RAKELL HINTON received a timely cesarean delivery;
   p. Continuing to provide PLAINTIFF CRYSTAL CLARK and/or RAKELL HINTON with
      certain unreasonable treatment and not ensuring that RAKELL HINTON received a timely
      cesarean delivery; and/or
   q. Were otherwise negligent.

27. As a direct and proximate result of the aforementioned negligent acts and/or omissions of
    Defendant, Defendant, MARSHA ANGELLA RODNEY, R.N. individually and/or as an agent
    and/or employee of ADVOCATE HEALTH AND HOSPITALS CORPORATION d/b/a
    ADVOCATE TRINITY HOSPITAL, d/b/a ADVOCATE MEDICAL GROUP d/b/a
    ADVOCATE CHILDREN’S MEDICAL GROUP, and each of them, RAKELL HINTON
    suffered injury and died.

28. As a proximate result of one or more of the aforesaid negligent acts or omissions of Defendant,
    MARSHA ANGELLA RODNEY, R.N. individually and/or as an agent and/or employee of
    ADVOCATE HEALTH AND HOSPITALS CORPORATION d/b/a ADVOCATE TRINITY
    HOSPITAL, d/b/a ADVOCATE MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S
    MEDICAL GROUP, and each of them,, RAKELL HINTON a minor deceased, left surviving:
    CRYSTAL CLARK, mother; RASHEED HINTON father; and siblings: Rasheed Hinton,
    Rashaud Hinton, Raheem Hinton, Rakeem Hinton, Ramean Hinton, and Rasheeda Hinton.

29. Pursuant to Illinois Code of Civil Procedure, Section 2-622, the affidavit of Attorney for
    Plaintiff is attached hereto as “Exhibit A”.

30. Pursuant to Illinois Code of Civil Procedure, Section 2-622, reports of healthcare professionals
    are attached hereto as “Exhibit B”.

31. That as a proximate result of the death of RAKELL HINTON a minor deceased, his family
    have been deprived of the love, companionship, and emotional support and have suffered
    injuries of a personal and pecuniary nature, and suffered grief and sorrow.

32. RASHEED HINTON and CRYSTAL CLARK and as Co-Special Administrators of the Estate
    of RAKELL HINTON, a minor, deceased, brings this cause of action on behalf of the Estate
    of the decedent pursuant to 740 ILCS 180/1, commonly known as the Wrongful Death Act of
    Illinois.




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WHEREFORE Plaintiff, RASHEED HINTON and CRYSTAL CLARK and as Co-Special
Administrators of the Estate of RAKELL HINTON, a minor, deceased, by and through their
attorneys, SMITH LACIEN LLP, demands judgment against Defendants, MARSHA ANGELLA
RODNEY, R.N. individually and/or as an agent and/or employee of ADVOCATE HEALTH
AND HOSPITALS CORPORATION d/b/a ADVOCATE TRINITY HOSPITAL, d/b/a
ADVOCATE MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S MEDICAL GROUP, and
each of them, in a sum of money in excess of FIFTY THOUSAND DOLLARS ($50,000).




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                                       COUNT VIII
                                     Wrongful Death
                                 (LUCY N. KARBEAH, R.N.)

1-24. Plaintiff re-alleges and incorporates herein after by reference the allegations set forth in
paragraph 1-24 of this Complaint.

25. On or about January 3, 2018 through January 7, 2018, and/or at all times material, Defendant,
    LUCY N. KARBEAH, R.N. individually and/or as an agent and/or employee of ADVOCATE
    HEALTH AND HOSPITALS CORPORATION d/b/a ADVOCATE TRINITY HOSPITAL,
    d/b/a ADVOCATE MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S MEDICAL
    GROUP, had a duty to possess and apply the knowledge and use the skill of reasonably well
    qualified health care provider under the same or similar circumstances.

26. On or about January 5, 2018 through January 7, 2018, and/or at all times material, Defendant,
    LUCY N. KARBEAH, R.N. individually and/or as an agent and/or employee of ADVOCATE
    HEALTH AND HOSPITALS CORPORATION d/b/a ADVOCATE TRINITY HOSPITAL,
    d/b/a ADVOCATE MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S MEDICAL
    GROUP, and each of them, were then and there negligent in one or more of the following
    respects:

   a. failing to have, implement and/or require the adherence to reasonable policies, procedures
      and protocols;
   b. failing to reasonably examine and assess PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased;
   c. failing to adequately and/or timely investigate PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   d. failing to recognize the significance of PLAINTIFF CRYSTAL CLARK and/or RAKELL
      HINTON a minor deceased signs, symptoms, condition and/or complaints;
   e. failing to recognize changes in PLAINTIFF CRYSTAL CLARK and/or RAKELL
      HINTON a minor deceased signs, symptoms, condition and/or complaints;
   f. failing to recognize the significance of changes in PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   g. failing to adequately and timely diagnose PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   h. failing to adequately and timely recognize the need to make a timely diagnosis of
      PLAINTIFF CRYSTAL CLARK and/or RAKELL HINTON a minor deceased signs,
      symptoms, condition and/or complaints;
   i. failing to notify other medical providers of PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   j. failing to timely notify other medical providers of PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints
   k. failing to notify other medical providers of changes in PLAINTIFF CRYSTAL CLARK
      and/or RAKELL HINTON a minor deceased signs, symptoms, condition and/or
      complaints;



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   l. failing to timely notify other medical providers of changes in PLAINTIFF CRYSTAL
      CLARK and/or RAKELL HINTON a minor deceased signs, symptoms, condition and/or
      complaints;
   m. failing to notify PLAINTIFF CRYSTAL CLARK of the significance of her and/or
      RAKELL HINTON’s a minor deceased signs, symptoms, condition and/or complaints;
   n. failing to notify PLAINTIFF CRYSTAL CLARK of the need for timely care, treatment
      and/or cesarean delivery of RAKELL HINTON a minor deceased;
   o. failing to timely ensure that RAKELL HINTON received a timely cesarean delivery;
   p. Continuing to provide PLAINTIFF CRYSTAL CLARK and/or RAKELL HINTON with
      certain unreasonable treatment and not ensuring that RAKELL HINTON received a timely
      cesarean delivery; and/or
   q. Were otherwise negligent.

27. As a direct and proximate result of the aforementioned negligent acts and/or omissions of
    Defendant, Defendant, LUCY N. KARBEAH, R.N. individually and/or as an agent and/or
    employee of ADVOCATE HEALTH AND HOSPITALS CORPORATION d/b/a
    ADVOCATE TRINITY HOSPITAL, d/b/a ADVOCATE MEDICAL GROUP d/b/a
    ADVOCATE CHILDREN’S MEDICAL GROUP, and each of them, RAKELL HINTON
    suffered injury and died.

28. As a proximate result of one or more of the aforesaid negligent acts or omissions of Defendant,
    LUCY N. KARBEAH, R.N. individually and/or as an agent and/or employee of ADVOCATE
    HEALTH AND HOSPITALS CORPORATION d/b/a ADVOCATE TRINITY HOSPITAL,
    d/b/a ADVOCATE MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S MEDICAL
    GROUP, and each of them,, RAKELL HINTON a minor deceased, left surviving: CRYSTAL
    CLARK, mother; RASHEED HINTON father; and siblings: Rasheed Hinton, Rashaud Hinton,
    Raheem Hinton, Rakeem Hinton, Ramean Hinton, and Rasheeda Hinton.

29. Pursuant to Illinois Code of Civil Procedure, Section 2-622, the affidavit of Attorney for
    Plaintiff is attached hereto as “Exhibit A”.

30. Pursuant to Illinois Code of Civil Procedure, Section 2-622, reports of healthcare professionals
    are attached hereto as “Exhibit B”.

31. That as a proximate result of the death of RAKELL HINTON a minor deceased, his family
    have been deprived of the love, companionship, and emotional support and have suffered
    injuries of a personal and pecuniary nature, and suffered grief and sorrow.

32. RASHEED HINTON and CRYSTAL CLARK and as Co-Special Administrators of the Estate
    of RAKELL HINTON, a minor, deceased, brings this cause of action on behalf of the Estate
    of the decedent pursuant to 740 ILCS 180/1, commonly known as the Wrongful Death Act of
    Illinois.




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WHEREFORE Plaintiff, RASHEED HINTON and CRYSTAL CLARK and as Co-Special
Administrators of the Estate of RAKELL HINTON, a minor, deceased, by and through their
attorneys, SMITH LACIEN LLP, demands judgment against Defendants, LUCY N. KARBEAH,
R.N. individually and/or as an agent and/or employee of ADVOCATE HEALTH AND
HOSPITALS CORPORATION d/b/a ADVOCATE TRINITY HOSPITAL, d/b/a ADVOCATE
MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S MEDICAL GROUP, and each of them,
in a sum of money in excess of FIFTY THOUSAND DOLLARS ($50,000).




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                                       COUNT IX
                                      Wrongful Death
                                  (THERESE NUZZO, R.N.)

1-24. Plaintiff re-alleges and incorporates herein after by reference the allegations set forth in
paragraph 1-24 of this Complaint.

25. On or about January 3, 2018 through January 7, 2018, and/or at all times material, Defendant,
    THERESE NUZZO, R.N. individually and/or as an agent and/or employee of ADVOCATE
    HEALTH AND HOSPITALS CORPORATION d/b/a ADVOCATE TRINITY HOSPITAL,
    d/b/a ADVOCATE MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S MEDICAL
    GROUP, had a duty to possess and apply the knowledge and use the skill of reasonably well
    qualified health care provider under the same or similar circumstances.

26. On or about January 5, 2018 through January 7, 2018, and/or at all times material, Defendant,
    THERESE NUZZO, R.N. individually and/or as an agent and/or employee of ADVOCATE
    HEALTH AND HOSPITALS CORPORATION d/b/a ADVOCATE TRINITY HOSPITAL,
    d/b/a ADVOCATE MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S MEDICAL
    GROUP, and each of them, were then and there negligent in one or more of the following
    respects:

   a. failing to have, implement and/or require the adherence to reasonable policies, procedures
      and protocols;
   b. failing to reasonably examine and assess PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased;
   c. failing to adequately and/or timely investigate PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   d. failing to recognize the significance of PLAINTIFF CRYSTAL CLARK and/or RAKELL
      HINTON a minor deceased signs, symptoms, condition and/or complaints;
   e. failing to recognize changes in PLAINTIFF CRYSTAL CLARK and/or RAKELL
      HINTON a minor deceased signs, symptoms, condition and/or complaints;
   f. failing to recognize the significance of changes in PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   g. failing to adequately and timely diagnose PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   h. failing to adequately and timely recognize the need to make a timely diagnosis of
      PLAINTIFF CRYSTAL CLARK and/or RAKELL HINTON a minor deceased signs,
      symptoms, condition and/or complaints;
   i. failing to notify other medical providers of PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   j. failing to timely notify other medical providers of PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints
   k. failing to notify other medical providers of changes in PLAINTIFF CRYSTAL CLARK
      and/or RAKELL HINTON a minor deceased signs, symptoms, condition and/or
      complaints;



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   l. failing to timely notify other medical providers of changes in PLAINTIFF CRYSTAL
      CLARK and/or RAKELL HINTON a minor deceased signs, symptoms, condition and/or
      complaints;
   m. failing to notify PLAINTIFF CRYSTAL CLARK of the significance of her and/or
      RAKELL HINTON’s a minor deceased signs, symptoms, condition and/or complaints;
   n. failing to notify PLAINTIFF CRYSTAL CLARK of the need for timely care, treatment
      and/or cesarean delivery of RAKELL HINTON a minor deceased;
   o. failing to timely ensure that RAKELL HINTON received a timely cesarean delivery;
   p. Continuing to provide PLAINTIFF CRYSTAL CLARK and/or RAKELL HINTON with
      certain unreasonable treatment and not ensuring that RAKELL HINTON received a timely
      cesarean delivery; and/or
   q. Were otherwise negligent.

27. As a direct and proximate result of the aforementioned negligent acts and/or omissions of
    Defendant, Defendant, THERESE NUZZO, R.N. individually and/or as an agent and/or
    employee of ADVOCATE HEALTH AND HOSPITALS CORPORATION d/b/a
    ADVOCATE TRINITY HOSPITAL, d/b/a ADVOCATE MEDICAL GROUP d/b/a
    ADVOCATE CHILDREN’S MEDICAL GROUP, and each of them, RAKELL HINTON
    suffered injury and died.

28. As a proximate result of one or more of the aforesaid negligent acts or omissions of Defendant,
    THERESE NUZZO, R.N. individually and/or as an agent and/or employee of ADVOCATE
    HEALTH AND HOSPITALS CORPORATION d/b/a ADVOCATE TRINITY HOSPITAL,
    d/b/a ADVOCATE MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S MEDICAL
    GROUP, and each of them,, RAKELL HINTON a minor deceased, left surviving: CRYSTAL
    CLARK, mother; RASHEED HINTON father; and siblings: Rasheed Hinton, Rashaud Hinton,
    Raheem Hinton, Rakeem Hinton, Ramean Hinton, and Rasheeda Hinton.

29. Pursuant to Illinois Code of Civil Procedure, Section 2-622, the affidavit of Attorney for
    Plaintiff is attached hereto as “Exhibit A”.

30. Pursuant to Illinois Code of Civil Procedure, Section 2-622, reports of healthcare professionals
    are attached hereto as “Exhibit B”.

31. That as a proximate result of the death of RAKELL HINTON a minor deceased, his family
    have been deprived of the love, companionship, and emotional support and have suffered
    injuries of a personal and pecuniary nature, and suffered grief and sorrow.

32. RASHEED HINTON and CRYSTAL CLARK and as Co-Special Administrators of the Estate
    of RAKELL HINTON, a minor, deceased, brings this cause of action on behalf of the Estate
    of the decedent pursuant to 740 ILCS 180/1, commonly known as the Wrongful Death Act of
    Illinois.


WHEREFORE Plaintiff, RASHEED HINTON and CRYSTAL CLARK and as Co-Special
Administrators of the Estate of RAKELL HINTON, a minor, deceased, by and through their

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attorneys, SMITH LACIEN LLP, demands judgment against Defendants, THERESE NUZZO,
R.N. individually and/or as an agent and/or employee of ADVOCATE HEALTH AND
HOSPITALS CORPORATION d/b/a ADVOCATE TRINITY HOSPITAL, d/b/a ADVOCATE
MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S MEDICAL GROUP, and each of them,
in a sum of money in excess of FIFTY THOUSAND DOLLARS ($50,000).




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                                  COUNT X
                                Wrongful Death
                   (MARIE-TERESA CHRISTOPHE COLBERT, M.D.)

1-24. Plaintiff re-alleges and incorporates herein after by reference the allegations set forth in
    paragraph 1-24 of this Complaint.

25. On or about January 3, 2018 through January 7, 2018, and at all time material, Defendant,
    MARIE-TERESA CHRISTOPHE COLBERT, M.D. was an agent and/or employee of
    ADVOCATE HEALTH HOSPITALS CORPORATION d/b/a ADVOCATE TRINITY
    HOSPITAL, d/b/a ADVOCATE MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S
    MEDICAL GROUP, and/or CHICAGO FAMILY HEALTH CENTER, INC.

26. On or about January 3, 2018 through January 7, 2018, and at all time material, Defendant,
    MARIE-TERESA CHRISTOPHE COLBERT, M.D. was acting in the course and scope of
    his employment and/or agency with ADVOCATE HEALTH HOSPITALS CORPORATION
    d/b/a ADVOCATE TRINITY HOSPITAL, d/b/a ADVOCATE MEDICAL GROUP d/b/a
    ADVOCATE CHILDREN’S MEDICAL GROUP, and/or CHICAGO FAMILY HEALTH
    CENTER, INC.

27. On or about January 3, 2018 through January 7, 2018, and at all time material, Defendant,
    MARIE-TERESA CHRISTOPHE COLBERT, M.D. individually and/or as an agent and/or
    employee of ADVOCATE HEALTH HOSPITALS CORPORATION d/b/a ADVOCATE
    TRINITY HOSPITAL, d/b/a ADVOCATE MEDICAL GROUP d/b/a ADVOCATE
    CHILDREN’S MEDICAL GROUP, and/or CHICAGO FAMILY HEALTH CENTER, INC,
    provided health care and treatment to PLAINTIFF CRYSTAL CLARK and/or RAKELL
    HINTON a minor deceased.

28. On or about January 3, 2018 through January 7, 2018, and at all time material, Defendant,
    MARIE-TERESA CHRISTOPHE COLBERT, M.D. individually and/or as an agent and/or
    employee of ADVOCATE HEALTH HOSPITALS CORPORATION d/b/a ADVOCATE
    TRINITY HOSPITAL, d/b/a ADVOCATE MEDICAL GROUP d/b/a ADVOCATE
    CHILDREN’S MEDICAL GROUP, and/or CHICAGO FAMILY HEALTH CENTER, INC,
    had a duty to possess and apply the knowledge and use the skill of reasonably well qualified
    health care provider under the same or similar circumstances.

29. On or about January 5, 2018 through January 7, 2018, and at all time material, Defendant,
    MARIE-TERESA CHRISTOPHE COLBERT, M.D. individually and/or as an agent and/or
    employee of ADVOCATE HEALTH HOSPITALS CORPORATION d/b/a ADVOCATE
    TRINITY HOSPITAL, d/b/a ADVOCATE MEDICAL GROUP d/b/a ADVOCATE
    CHILDREN’S MEDICAL GROUP, and/or CHICAGO FAMILY HEALTH CENTER, INC,
    and each of them was then and there negligent in one or more of the following respects:
   a. failing to have, implement and/or require the adherence to reasonable policies, procedures
      and protocols;
   b. failing to reasonably examine and assess PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased;

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   c. failing to adequately and/or timely investigate PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   d. failing to recognize the significance of PLAINTIFF CRYSTAL CLARK and/or RAKELL
      HINTON a minor deceased signs, symptoms, condition and/or complaints;
   e. failing to recognize changes in PLAINTIFF CRYSTAL CLARK and/or RAKELL
      HINTON a minor deceased signs, symptoms, condition and/or complaints;
   f. failing to recognize the significance of changes in PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   g. failing to adequately and timely diagnose PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   h. failing to adequately and timely recognize the need to make a timely diagnosis of
      PLAINTIFF CRYSTAL CLARK and/or RAKELL HINTON a minor deceased signs,
      symptoms, condition and/or complaints;
   i. failing to notify other medical providers of PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   j. failing to timely notify other medical providers of PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints
   k. failing to notify other medical providers of changes in PLAINTIFF CRYSTAL CLARK
      and/or RAKELL HINTON a minor deceased signs, symptoms, condition and/or
      complaints;
   l. failing to timely notify other medical providers of changes in PLAINTIFF CRYSTAL
      CLARK and/or RAKELL HINTON a minor deceased signs, symptoms, condition and/or
      complaints;
   m. failing to notify PLAINTIFF CRYSTAL CLARK of the significance of her and/or
      RAKELL HINTON’s a minor deceased signs, symptoms, condition and/or complaints;
   n. failing to notify PLAINTIFF CRYSTAL CLARK of the need for timely care, treatment
      and/or cesarean delivery of RAKELL HINTON a minor deceased;
   o. failing to timely ensure that RAKELL HINTON received a timely cesarean delivery;
   p. Continuing to provide PLAINTIFF CRYSTAL CLARK and/or RAKELL HINTON with
      certain unreasonable treatment and not ensuring that RAKELL HINTON received a timely
      cesarean delivery; and/or
   q. Were otherwise negligent.

33. As a direct and proximate result of the aforementioned negligent acts and/or omissions of
    Defendant, Defendant, MARIE-TERESA CHRISTOPHE COLBERT, M.D.                   individually
    and/or as an agent and/or employee of ADVOCATE HEALTH HOSPITALS
    CORPORATION d/b/a ADVOCATE TRINITY HOSPITAL, d/b/a ADVOCATE MEDICAL
    GROUP d/b/a ADVOCATE CHILDREN’S MEDICAL GROUP, and/or CHICAGO FAMILY
    HEALTH CENTER, INC, and each of them, RAKELL HINTON suffered injury and died.

34. As a proximate result of one or more of the aforesaid negligent acts or omissions of Defendant,
    MARIE-TERESA CHRISTOPHE COLBERT, M.D. individually and/or as an agent and/or
    employee of ADVOCATE HEALTH HOSPITALS CORPORATION d/b/a ADVOCATE
    TRINITY HOSPITAL, d/b/a ADVOCATE MEDICAL GROUP d/b/a ADVOCATE
    CHILDREN’S MEDICAL GROUP, and/or CHICAGO FAMILY HEALTH CENTER, INC,
    and each of them, RAKELL HINTON a minor deceased, left surviving: CRYSTAL CLARK,

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   mother; RASHEED HINTON father; and siblings: Rasheed Hinton, Rashaud Hinton, Raheem
   Hinton, Rakeem Hinton, Ramean Hinton, and Rasheeda Hinton.

35. Pursuant to Illinois Code of Civil Procedure, Section 2-622, the affidavit of Attorney for
    Plaintiff is attached hereto as “Exhibit A”.

36. Pursuant to Illinois Code of Civil Procedure, Section 2-622, reports of healthcare professionals
    are attached hereto as “Exhibit B”.

37. That as a proximate result of the death of RAKELL HINTON a minor deceased, his family
    have been deprived of the love, companionship, and emotional support and have suffered
    injuries of a personal and pecuniary nature, and suffered grief and sorrow.

38. RASHEED HINTON and CRYSTAL CLARK and as Co-Special Administrators of the Estate
    of RAKELL HINTON, a minor, deceased, brings this cause of action on behalf of the Estate
    of the decedent pursuant to 740 ILCS 180/1, commonly known as the Wrongful Death Act of
    Illinois.
    WHEREFORE Plaintiff, RASHEED HINTON and CRYSTAL CLARK and as Co-Special
Administrators of the Estate of RAKELL HINTON, a minor, deceased, by and through their
attorneys, SMITH LACIEN LLP, demands judgment against Defendants, MARIE-TERESA
CHRISTOPHE COLBERT, M.D. individually and/or as an agent and/or employee of
ADVOCATE HEALTH HOSPITALS CORPORATION d/b/a ADVOCATE TRINITY
HOSPITAL, d/b/a ADVOCATE MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S
MEDICAL GROUP, and/or CHICAGO             FAMILY HEALTH CENTER, INC, and each of
them, in a sum of money in excess of FIFTY THOUSAND DOLLARS ($50,000).




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                                        COUNT XI
                                      Wrongful Death
                              (LISA DE JUANA DANIEL, M.D.)

1-24. Plaintiff re-alleges and incorporates herein after by reference the allegations set forth in
    paragraph 1-24 of this Complaint.

25. On or about January 3, 2018 through January 7, 2018, and at all time material, Defendant,
    LISA DE JUANA DANIEL, M.D. was an agent and/or employee of ADVOCATE HEALTH
    HOSPITALS CORPORATION d/b/a ADVOCATE TRINITY HOSPITAL, d/b/a
    ADVOCATE MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S MEDICAL GROUP,
    CHICAGO FAMILY HEALTH CENTER, INC. ADVANCED GYNE & COSMETIC CARE,
    and/or FOR WOMEN ONLY HEALTHCARE, INC.

26. On or about January 3, 2018 through January 7, 2018, and at all time material, Defendant,
    LISA DE JUANA DANIEL, M.D. was acting in the course and scope of his employment
    and/or agency with ADVOCATE HEALTH HOSPITALS CORPORATION d/b/a
    ADVOCATE TRINITY HOSPITAL, d/b/a ADVOCATE MEDICAL GROUP d/b/a
    ADVOCATE CHILDREN’S MEDICAL GROUP, CHICAGO FAMILY HEALTH CENTER,
    INC. ADVANCED GYNE & COSMETIC CARE, and/or FOR WOMEN ONLY
    HEALTHCARE, INC.

27. On or about January 3, 2018 through January 7, 2018, and at all time material, Defendant,
    LISA DE JUANA DANIEL, M.D. individually and/or as an agent and/or employee of
    ADVOCATE HEALTH HOSPITALS CORPORATION d/b/a ADVOCATE TRINITY
    HOSPITAL, d/b/a ADVOCATE MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S
    MEDICAL GROUP, CHICAGO FAMILY HEALTH CENTER, INC. ADVANCED GYNE
    & COSMETIC CARE, and/or FOR WOMEN ONLY HEALTHCARE, INC., provided health
    care and treatment to PLAINTIFF CRYSTAL CLARK and/or RAKELL HINTON a minor
    deceased.

28. On or about January 3, 2018 through January 7, 2018, and at all time material, Defendant,
    LISA DE JUANA DANIEL, M.D. individually and/or as an agent and/or employee of
    ADVOCATE HEALTH HOSPITALS CORPORATION d/b/a ADVOCATE TRINITY
    HOSPITAL, d/b/a ADVOCATE MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S
    MEDICAL GROUP, CHICAGO FAMILY HEALTH CENTER, INC. ADVANCED GYNE
    & COSMETIC CARE, and/or FOR WOMEN ONLY HEALTHCARE, INC., had a duty to
    possess and apply the knowledge and use the skill of reasonably well qualified health care
    provider under the same or similar circumstances.

29. On or about January 5, 2018 through January 7, 2018, and at all time material, Defendant,
    LISA DE JUANA DANIEL, M.D. individually and/or as an agent and/or employee of
    ADVOCATE HEALTH HOSPITALS CORPORATION d/b/a ADVOCATE TRINITY
    HOSPITAL, d/b/a ADVOCATE MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S
    MEDICAL GROUP, CHICAGO FAMILY HEALTH CENTER, INC. ADVANCED GYNE
    & COSMETIC CARE, and/or FOR WOMEN ONLY HEALTHCARE, INC., and each of them
    was then and there negligent in one or more of the following respects:
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   a. failing to have, implement and/or require the adherence to reasonable policies, procedures
      and protocols;
   b. failing to reasonably examine and assess PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased;
   c. failing to adequately and/or timely investigate PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   d. failing to recognize the significance of PLAINTIFF CRYSTAL CLARK and/or RAKELL
      HINTON a minor deceased signs, symptoms, condition and/or complaints;
   e. failing to recognize changes in PLAINTIFF CRYSTAL CLARK and/or RAKELL
      HINTON a minor deceased signs, symptoms, condition and/or complaints;
   f. failing to recognize the significance of changes in PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   g. failing to adequately and timely diagnose PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   h. failing to adequately and timely recognize the need to make a timely diagnosis of
      PLAINTIFF CRYSTAL CLARK and/or RAKELL HINTON a minor deceased signs,
      symptoms, condition and/or complaints;
   i. failing to notify other medical providers of PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   j. failing to timely notify other medical providers of PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints
   k. failing to notify other medical providers of changes in PLAINTIFF CRYSTAL CLARK
      and/or RAKELL HINTON a minor deceased signs, symptoms, condition and/or
      complaints;
   l. failing to timely notify other medical providers of changes in PLAINTIFF CRYSTAL
      CLARK and/or RAKELL HINTON a minor deceased signs, symptoms, condition and/or
      complaints;
   m. failing to notify PLAINTIFF CRYSTAL CLARK of the significance of her and/or
      RAKELL HINTON’s a minor deceased signs, symptoms, condition and/or complaints;
   n. failing to notify PLAINTIFF CRYSTAL CLARK of the need for timely care, treatment
      and/or cesarean delivery of RAKELL HINTON a minor deceased;
   o. failing to timely ensure that RAKELL HINTON received a timely cesarean delivery;
   p. Continuing to provide PLAINTIFF CRYSTAL CLARK and/or RAKELL HINTON with
      certain unreasonable treatment and not ensuring that RAKELL HINTON received a timely
      cesarean delivery; and/or
   q. Were otherwise negligent.

28. As a direct and proximate result of the aforementioned negligent acts and/or omissions of
    Defendant, Defendant, LISA DE JUANA DANIEL, M.D. individually and/or as an agent
    and/or employee of ADVOCATE HEALTH HOSPITALS CORPORATION d/b/a
    ADVOCATE TRINITY HOSPITAL, d/b/a ADVOCATE MEDICAL GROUP d/b/a
    ADVOCATE CHILDREN’S MEDICAL GROUP, CHICAGO FAMILY HEALTH CENTER,
    INC. ADVANCED GYNE & COSMETIC CARE, and/or FOR WOMEN ONLY
    HEALTHCARE, INC., and each of them, RAKELL HINTON suffered injury and died.


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29. As a proximate result of one or more of the aforesaid negligent acts or omissions of Defendant,
    LISA DE JUANA DANIEL, M.D. individually and/or as an agent and/or employee of
    ADVOCATE HEALTH HOSPITALS CORPORATION d/b/a ADVOCATE TRINITY
    HOSPITAL, d/b/a ADVOCATE MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S
    MEDICAL GROUP, CHICAGO FAMILY HEALTH CENTER, INC. ADVANCED GYNE
    & COSMETIC CARE, and/or FOR WOMEN ONLY HEALTHCARE, INC., and each of
    them, RAKELL HINTON a minor deceased, left surviving: CRYSTAL CLARK, mother;
    RASHEED HINTON father; and siblings: Rasheed Hinton, Rashaud Hinton, Raheem Hinton,
    Rakeem Hinton, Ramean Hinton, and Rasheeda Hinton.

30. Pursuant to Illinois Code of Civil Procedure, Section 2-622, the affidavit of Attorney for
    Plaintiff is attached hereto as “Exhibit A”.

31. Pursuant to Illinois Code of Civil Procedure, Section 2-622, reports of healthcare professionals
    are attached hereto as “Exhibit B”.

32. That as a proximate result of the death of RAKELL HINTON a minor deceased, his family
    have been deprived of the love, companionship, and emotional support and have suffered
    injuries of a personal and pecuniary nature, and suffered grief and sorrow.

33. RASHEED HINTON and CRYSTAL CLARK and as Co-Special Administrators of the Estate
    of RAKELL HINTON, a minor, deceased, brings this cause of action on behalf of the Estate
    of the decedent pursuant to 740 ILCS 180/1, commonly known as the Wrongful Death Act of
    Illinois.


    WHEREFORE Plaintiff, RASHEED HINTON and CRYSTAL CLARK and as Co-Special
Administrators of the Estate of RAKELL HINTON, a minor, deceased, by and through their
attorneys, SMITH LACIEN LLP, demands judgment against Defendants, LISA DE JUANA
DANIEL, M.D. individually and/or as an agent and/or employee of ADVOCATE HEALTH
HOSPITALS CORPORATION d/b/a ADVOCATE TRINITY HOSPITAL, d/b/a ADVOCATE
MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S MEDICAL GROUP, CHICAGO
FAMILY HEALTH CENTER, INC. ADVANCED GYNE & COSMETIC CARE, and/or FOR
WOMEN ONLY HEALTHCARE, INC., and each of them, in a sum of money in excess of FIFTY
THOUSAND DOLLARS ($50,000).




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                                    COUNT XII
                                   Wrongful Death
                           (MARJORIE GINOY MICHEL, M.D.)

1-24. Plaintiff re-alleges and incorporates herein after by reference the allegations set forth in
    paragraph 1-24 of this Complaint.

25. On or about January 3, 2018 through January 7, 2018, and at all time material, Defendant,
    MARJORIE GINOY MICHEL, M.D. was an agent and/or employee of ADVOCATE
    HEALTH HOSPITALS CORPORATION d/b/a ADVOCATE TRINITY HOSPITAL, d/b/a
    ADVOCATE MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S MEDICAL GROUP,
    and/or CHICAGO FAMILY HEALTH CENTER, INC.

26. On or about January 3, 2018 through January 7, 2018, and at all time material, Defendant,
    MARJORIE GINOY MICHEL, M.D. was acting in the course and scope of his employment
    and/or agency with ADVOCATE HEALTH HOSPITALS CORPORATION d/b/a
    ADVOCATE TRINITY HOSPITAL, d/b/a ADVOCATE MEDICAL GROUP d/b/a
    ADVOCATE CHILDREN’S MEDICAL GROUP, and/or CHICAGO FAMILY HEALTH
    CENTER, INC.

27. On or about January 3, 2018 through January 7, 2018, and at all time material, Defendant,
    MARJORIE GINOY MICHEL, M.D. individually and/or as an agent and/or employee of
    ADVOCATE HEALTH HOSPITALS CORPORATION d/b/a ADVOCATE TRINITY
    HOSPITAL, d/b/a ADVOCATE MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S
    MEDICAL GROUP, and/or CHICAGO FAMILY HEALTH CENTER, INC, provided health
    care and treatment to PLAINTIFF CRYSTAL CLARK and/or RAKELL HINTON a minor
    deceased.

28. On or about January 3, 2018 through January 7, 2018, and at all time material, Defendant,
    MARJORIE GINOY MICHEL, M.D. individually and/or as an agent and/or employee of
    ADVOCATE HEALTH HOSPITALS CORPORATION d/b/a ADVOCATE TRINITY
    HOSPITAL, d/b/a ADVOCATE MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S
    MEDICAL GROUP, and/or CHICAGO FAMILY HEALTH CENTER, INC, had a duty to
    possess and apply the knowledge and use the skill of reasonably well qualified health care
    provider under the same or similar circumstances.

29. On or about January 5, 2018 through January 7, 2018, and at all time material, Defendant,
    MARJORIE GINOY MICHEL, M.D. individually and/or as an agent and/or employee of
    ADVOCATE HEALTH HOSPITALS CORPORATION d/b/a ADVOCATE TRINITY
    HOSPITAL, d/b/a ADVOCATE MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S
    MEDICAL GROUP, and/or CHICAGO FAMILY HEALTH CENTER, INC, and each of
    them was then and there negligent in one or more of the following respects:
    a. failing to have, implement and/or require the adherence to reasonable policies, procedures
       and protocols;
    b. failing to reasonably examine and assess PLAINTIFF CRYSTAL CLARK and/or
       RAKELL HINTON a minor deceased;

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   c. failing to adequately and/or timely investigate PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   d. failing to recognize the significance of PLAINTIFF CRYSTAL CLARK and/or RAKELL
      HINTON a minor deceased signs, symptoms, condition and/or complaints;
   e. failing to recognize changes in PLAINTIFF CRYSTAL CLARK and/or RAKELL
      HINTON a minor deceased signs, symptoms, condition and/or complaints;
   f. failing to recognize the significance of changes in PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   g. failing to adequately and timely diagnose PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   h. failing to adequately and timely recognize the need to make a timely diagnosis of
      PLAINTIFF CRYSTAL CLARK and/or RAKELL HINTON a minor deceased signs,
      symptoms, condition and/or complaints;
   i. failing to notify other medical providers of PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   j. failing to timely notify other medical providers of PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints
   k. failing to notify other medical providers of changes in PLAINTIFF CRYSTAL CLARK
      and/or RAKELL HINTON a minor deceased signs, symptoms, condition and/or
      complaints;
   l. failing to timely notify other medical providers of changes in PLAINTIFF CRYSTAL
      CLARK and/or RAKELL HINTON a minor deceased signs, symptoms, condition and/or
      complaints;
   m. failing to notify PLAINTIFF CRYSTAL CLARK of the significance of her and/or
      RAKELL HINTON’s a minor deceased signs, symptoms, condition and/or complaints;
   n. failing to notify PLAINTIFF CRYSTAL CLARK of the need for timely care, treatment
      and/or cesarean delivery of RAKELL HINTON a minor deceased;
   o. failing to timely ensure that RAKELL HINTON received a timely cesarean delivery;
   p. Continuing to provide PLAINTIFF CRYSTAL CLARK and/or RAKELL HINTON with
      certain unreasonable treatment and not ensuring that RAKELL HINTON received a timely
      cesarean delivery; and/or
   q. Were otherwise negligent.

28. As a direct and proximate result of the aforementioned negligent acts and/or omissions of
    Defendant, Defendant, MARJORIE GINOY MICHEL, M.D. individually and/or as an agent
    and/or employee of ADVOCATE HEALTH HOSPITALS CORPORATION d/b/a
    ADVOCATE TRINITY HOSPITAL, d/b/a ADVOCATE MEDICAL GROUP d/b/a
    ADVOCATE CHILDREN’S MEDICAL GROUP, and/or CHICAGO FAMILY HEALTH
    CENTER, INC, and each of them, RAKELL HINTON suffered injury and died.

29. As a proximate result of one or more of the aforesaid negligent acts or omissions of Defendant,
    MARJORIE GINOY MICHEL, M.D. individually and/or as an agent and/or employee of
    ADVOCATE HEALTH HOSPITALS CORPORATION d/b/a ADVOCATE TRINITY
    HOSPITAL, d/b/a ADVOCATE MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S
    MEDICAL GROUP, and/or CHICAGO FAMILY HEALTH CENTER, INC, and each of
    them, RAKELL HINTON a minor deceased, left surviving: CRYSTAL CLARK, mother;

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   RASHEED HINTON father; and siblings: Rasheed Hinton, Rashaud Hinton, Raheem Hinton,
   Rakeem Hinton, Ramean Hinton, and Rasheeda Hinton.

30. Pursuant to Illinois Code of Civil Procedure, Section 2-622, the affidavit of Attorney for
    Plaintiff is attached hereto as “Exhibit A”.

31. Pursuant to Illinois Code of Civil Procedure, Section 2-622, reports of healthcare professionals
    are attached hereto as “Exhibit B”.

32. That as a proximate result of the death of RAKELL HINTON a minor deceased, his family
    have been deprived of the love, companionship, and emotional support and have suffered
    injuries of a personal and pecuniary nature, and suffered grief and sorrow.

33. RASHEED HINTON and CRYSTAL CLARK and as Co-Special Administrators of the Estate
    of RAKELL HINTON, a minor, deceased, brings this cause of action on behalf of the Estate
    of the decedent pursuant to 740 ILCS 180/1, commonly known as the Wrongful Death Act of
    Illinois.

    WHEREFORE Plaintiff, RASHEED HINTON and CRYSTAL CLARK and as Co-Special
Administrators of the Estate of RAKELL HINTON, a minor, deceased, by and through their
attorneys, SMITH LACIEN LLP, demands judgment against Defendants, MARJORIE GINOY
MICHEL, M.D. individually and/or as an agent and/or employee of ADVOCATE HEALTH
HOSPITALS CORPORATION d/b/a ADVOCATE TRINITY HOSPITAL, d/b/a ADVOCATE
MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S MEDICAL GROUP, and/or CHICAGO
FAMILY HEALTH CENTER, INC, and each of them, in a sum of money in excess of FIFTY
THOUSAND DOLLARS ($50,000).




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                                  COUNT XIII
                                 Wrongful Death
                      (CHICAGO FAMILY HEALTH CENTER, INC.)

1-24. Plaintiff re-alleges and incorporates herein after by reference the allegations set forth in
    paragraph 1-24 of this Complaint.

25. On or about January 3, 2018 through January 7, 2018, and at all time material, Defendants
    MARIE-TERESA CHRISTOPHE COLBERT, M.D., LISA DE JUANA DANIEL, M.D.
    and/or MARJORIE GINOY MICHEL, M.D. were agents and/or employees of CHICAGO
    FAMILY HEALTH CENTER, INC.

26. On or about January 3, 2018 through January 7, 2018, and at all time material, Defendants
    MARIE-TERESA CHRISTOPHE COLBERT, M.D., LISA DE JUANA DANIEL, M.D.
    and/or MARJORIE GINOY MICHEL, M.D. were acting in the course and scope of their
    employment and/or agency with CHICAGO FAMILY HEALTH CENTER, INC.

27. On or about January 3, 2018 through January 7, 2018, and at all time material, Defendant,
    CHICAGO FAMILY HEALTH CENTER, INC., was an Illinois corporation doing regular and
    continuous business in the State of Illinois that individually and/or by and through its doctors,
    nurses, medical providers, and/or agents including, without limit, MARIE-TERESA
    CHRISTOPHE COLBERT, M.D., LISA DE JUANA DANIEL, M.D. and/or MARJORIE
    GINOY MICHEL, M.D. and/or others provided health care and treatment to PLAINTIFF
    CRYSTAL CLARK and/or RAKELL HINTON a minor deceased.

28. On or about January 3, 2018 through January 7, 2018, and at all time material, CHICAGO
    FAMILY HEALTH CENTER, INC., individually and/or by and through its doctors, nurses,
    medical providers, and/or agents, and/or agents including, without limit, MARIE-TERESA
    CHRISTOPHE COLBERT, M.D., LISA DE JUANA DANIEL, M.D. and/or MARJORIE
    GINOY MICHEL, M.D. and/or others had a duty to possess and apply the knowledge and use
    the skill of reasonably well qualified health care provider under the same or similar
    circumstances.

27. On or about January 5, 2018 through January 7, 2018, and at all time material, Defendant,
    CHICAGO FAMILY HEALTH CENTER, INC., individually and/or by and through its
    doctors, nurses, medical providers, and/or agents, and/or agents including, without limit,
    MARIE-TERESA CHRISTOPHE COLBERT, M.D., LISA DE JUANA DANIEL, M.D.
    and/or MARJORIE GINOY MICHEL, M.D. and/or others, and each of them was then and
    there negligent in one or more of the following respects:

   a. failing to have, implement and/or require the adherence to reasonable policies, procedures
      and protocols;
   b. failing to reasonably examine and assess PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased;
   c. failing to adequately and/or timely investigate PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;

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   d. failing to recognize the significance of PLAINTIFF CRYSTAL CLARK and/or RAKELL
      HINTON a minor deceased signs, symptoms, condition and/or complaints;
   e. failing to recognize changes in PLAINTIFF CRYSTAL CLARK and/or RAKELL
      HINTON a minor deceased signs, symptoms, condition and/or complaints;
   f. failing to recognize the significance of changes in PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   g. failing to adequately and timely diagnose PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   h. failing to adequately and timely recognize the need to make a timely diagnosis of
      PLAINTIFF CRYSTAL CLARK and/or RAKELL HINTON a minor deceased signs,
      symptoms, condition and/or complaints;
   i. failing to notify other medical providers of PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   j. failing to timely notify other medical providers of PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints
   k. failing to notify other medical providers of changes in PLAINTIFF CRYSTAL CLARK
      and/or RAKELL HINTON a minor deceased signs, symptoms, condition and/or
      complaints;
   l. failing to timely notify other medical providers of changes in PLAINTIFF CRYSTAL
      CLARK and/or RAKELL HINTON a minor deceased signs, symptoms, condition and/or
      complaints;
   m. failing to notify PLAINTIFF CRYSTAL CLARK of the significance of her and/or
      RAKELL HINTON’s a minor deceased signs, symptoms, condition and/or complaints;
   n. failing to notify PLAINTIFF CRYSTAL CLARK of the need for timely care, treatment
      and/or cesarean delivery of RAKELL HINTON a minor deceased;
   o. failing to timely ensure that RAKELL HINTON received a timely cesarean delivery;
   p. Continuing to provide PLAINTIFF CRYSTAL CLARK and/or RAKELL HINTON with
      certain unreasonable treatment and not ensuring that RAKELL HINTON received a timely
      cesarean delivery; and/or
   q. Were otherwise negligent.

28. As a direct and proximate result of the aforementioned negligent acts and/or omissions of
    Defendant, Defendant, CHICAGO FAMILY HEALTH CENTER, INC., individually and/or
    by and through its doctors, nurses, medical providers, and/or agents, and/or agents including,
    without limit, MARIE-TERESA CHRISTOPHE COLBERT, M.D., LISA DE JUANA
    DANIEL, M.D. and/or MARJORIE GINOY MICHEL, M.D. and/or others, and each of them,
    RAKELL HINTON suffered injury and died.

29. As a proximate result of one or more of the aforesaid negligent acts or omissions of Defendant,
    CHICAGO FAMILY HEALTH CENTER, INC., individually and/or by and through its
    doctors, nurses, medical providers, and/or agents, and/or agents including, without limit,
    MARIE-TERESA CHRISTOPHE COLBERT, M.D., LISA DE JUANA DANIEL, M.D.
    and/or MARJORIE GINOY MICHEL, M.D. and/or others, and each of them, RAKELL
    HINTON a minor deceased, left surviving: CRYSTAL CLARK, mother; RASHEED
    HINTON father; and siblings: Rasheed Hinton, Rashaud Hinton, Raheem Hinton, Rakeem
    Hinton, Ramean Hinton, and Rasheeda Hinton.

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30. Pursuant to Illinois Code of Civil Procedure, Section 2-622, the affidavit of Attorney for
    Plaintiff is attached hereto as “Exhibit A”.

31. Pursuant to Illinois Code of Civil Procedure, Section 2-622, reports of healthcare professionals
    are attached hereto as “Exhibit B”.

32. That as a proximate result of the death of RAKELL HINTON a minor deceased, his family
    have been deprived of the love, companionship, and emotional support and have suffered
    injuries of a personal and pecuniary nature, and suffered grief and sorrow.

33. RASHEED HINTON and CRYSTAL CLARK and as Co-Special Administrators of the Estate
    of RAKELL HINTON, a minor, deceased, brings this cause of action on behalf of the Estate
    of the decedent pursuant to 740 ILCS 180/1, commonly known as the Wrongful Death Act of
    Illinois.

    WHEREFORE Plaintiff, RASHEED HINTON and CRYSTAL CLARK and as Co-Special
Administrators of the Estate of RAKELL HINTON, a minor, deceased, by and through their
attorneys, SMITH LACIEN LLP, demands judgment against Defendant, CHICAGO FAMILY
HEALTH CENTER, INC., individually and/or by and through its doctors, nurses, medical
providers, and/or agents, and/or agents including, without limit, MARIE-TERESA CHRISTOPHE
COLBERT, M.D., LISA DE JUANA DANIEL, M.D. and/or MARJORIE GINOY MICHEL,
M.D. and/or others, and each of them, in a sum of money in excess of FIFTY THOUSAND
DOLLARS ($50,000).




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                             COUNT XIV
                            Wrongful Death
        (ADVANCED GYNE & COSMETIC CARE, and/or FOR WOMEN ONLY
                          HEALTHCARE, INC.)

1-24. Plaintiff re-alleges and incorporates herein after by reference the allegations set forth in
    paragraph 1-24 of this Complaint.

25. On or about January 3, 2018 through January 7, 2018, and at all time material, Defendants
    LISA DE JUANA DANIEL, M.D. was an agent and/or employee of ADVANCED GYNE &
    COSMETIC CARE, and/or FOR WOMEN ONLY HEALTHCARE, INC.


26. On or about January 3, 2018 through January 7, 2018, and at all time material, Defendants
    LISA DE JUANA DANIEL, M.D. was acting in the course and scope of her employment
    and/or agency with ADVANCED GYNE & COSMETIC CARE, and/or FOR WOMEN
    ONLY HEALTHCARE, INC.

27. On or about January 3, 2018 through January 7, 2018, and at all time material, Defendant,
    ADVANCED GYNE & COSMETIC CARE, and/or FOR WOMEN ONLY HEALTHCARE,
    INC., were Illinois corporations doing regular and continuous business in the State of Illinois
    that individually and/or by and through its doctors, nurses, medical providers, and/or agents
    including, without limit, LISA DE JUANA DANIEL, M.D. and/or others provided health care
    and treatment to PLAINTIFF CRYSTAL CLARK and/or RAKELL HINTON a minor
    deceased.

28. On or about January 3, 2018 through January 7, 2018, and at all time material, Defendant
    ADVANCED GYNE & COSMETIC CARE, and/or FOR WOMEN ONLY HEALTHCARE,
    INC., individually and/or by and through its doctors, nurses, medical providers and/or agents
    including, without limit, LISA DE JUANA DANIEL, M.D. and/or others had a duty to possess
    and apply the knowledge and use the skill of reasonably well qualified health care provider
    under the same or similar circumstances.

27. On or about January 5, 2018 through January 7, 2018, and at all time material, Defendant
    ADVANCED GYNE & COSMETIC CARE, and/or FOR WOMEN ONLY HEALTHCARE,
    INC., individually and/or by and through its doctors, nurses, medical providers and/or agents
    including, without limit, LISA DE JUANA DANIEL, M.D. and/or others, and each of them
    was then and there negligent in one or more of the following respects:

   a. failing to have, implement and/or require the adherence to reasonable policies, procedures
      and protocols;
   b. failing to reasonably examine and assess PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased;
   c. failing to adequately and/or timely investigate PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;



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   d. failing to recognize the significance of PLAINTIFF CRYSTAL CLARK and/or RAKELL
      HINTON a minor deceased signs, symptoms, condition and/or complaints;
   e. failing to recognize changes in PLAINTIFF CRYSTAL CLARK and/or RAKELL
      HINTON a minor deceased signs, symptoms, condition and/or complaints;
   f. failing to recognize the significance of changes in PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   g. failing to adequately and timely diagnose PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   h. failing to adequately and timely recognize the need to make a timely diagnosis of
      PLAINTIFF CRYSTAL CLARK and/or RAKELL HINTON a minor deceased signs,
      symptoms, condition and/or complaints;
   i. failing to notify other medical providers of PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints;
   j. failing to timely notify other medical providers of PLAINTIFF CRYSTAL CLARK and/or
      RAKELL HINTON a minor deceased signs, symptoms, condition and/or complaints
   k. failing to notify other medical providers of changes in PLAINTIFF CRYSTAL CLARK
      and/or RAKELL HINTON a minor deceased signs, symptoms, condition and/or
      complaints;
   l. failing to timely notify other medical providers of changes in PLAINTIFF CRYSTAL
      CLARK and/or RAKELL HINTON a minor deceased signs, symptoms, condition and/or
      complaints;
   m. failing to notify PLAINTIFF CRYSTAL CLARK of the significance of her and/or
      RAKELL HINTON’s a minor deceased signs, symptoms, condition and/or complaints;
   n. failing to notify PLAINTIFF CRYSTAL CLARK of the need for timely care, treatment
      and/or cesarean delivery of RAKELL HINTON a minor deceased;
   o. failing to timely ensure that RAKELL HINTON received a timely cesarean delivery;
   p. Continuing to provide PLAINTIFF CRYSTAL CLARK and/or RAKELL HINTON with
      certain unreasonable treatment and not ensuring that RAKELL HINTON received a timely
      cesarean delivery; and/or
   q. Were otherwise negligent.

28. As a direct and proximate result of the aforementioned negligent acts and/or omissions of
    Defendant ADVANCED GYNE & COSMETIC CARE, and/or FOR WOMEN ONLY
    HEALTHCARE, INC., individually and/or by and through its doctors, nurses, medical
    providers and/or agents including, without limit, LISA DE JUANA DANIEL, M.D. and/or
    others, and each of them RAKELL HINTON suffered injury and died.

29. As a proximate result of one or more of the aforesaid negligent acts or omissions of Defendant
    ADVANCED GYNE & COSMETIC CARE, and/or FOR WOMEN ONLY HEALTHCARE,
    INC., individually and/or by and through its doctors, nurses, medical providers and/or agents
    including, without limit, LISA DE JUANA DANIEL, M.D. and/or others, and each of them,
    RAKELL HINTON a minor deceased, left surviving: CRYSTAL CLARK, mother;
    RASHEED HINTON father; and siblings: Rasheed Hinton, Rashaud Hinton, Raheem Hinton,
    Rakeem Hinton, Ramean Hinton, and Rasheeda Hinton.




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30. Pursuant to Illinois Code of Civil Procedure, Section 2-622, the affidavit of Attorney for
    Plaintiff is attached hereto as “Exhibit A”.

31. Pursuant to Illinois Code of Civil Procedure, Section 2-622, reports of healthcare professionals
    are attached hereto as “Exhibit B”.

32. That as a proximate result of the death of RAKELL HINTON a minor deceased, his family
    have been deprived of the love, companionship, and emotional support and have suffered
    injuries of a personal and pecuniary nature, and suffered grief and sorrow.

33. RASHEED HINTON and CRYSTAL CLARK and as Co-Special Administrators of the
    Estate of RAKELL HINTON, a minor, deceased, brings this cause of action on behalf of the
    Estate of the decedent pursuant to 740 ILCS 180/1, commonly known as the Wrongful Death
    Act of Illinois.

    WHEREFORE Plaintiff, RASHEED HINTON and CRYSTAL CLARK and as Co-Special
Administrators of the Estate of RAKELL HINTON, a minor, deceased, by and through their
attorneys, SMITH LACIEN LLP, demands judgment against Defendants ADVANCED GYNE &
COSMETIC CARE, and/or FOR WOMEN ONLY HEALTHCARE, INC., individually and/or by
and through its doctors, nurses, medical providers and/or agents including, without limit, LISA
DE JUANA DANIEL, M.D. and/or others, and each of them, in a sum of money in excess of
FIFTY THOUSAND DOLLARS ($50,000).


                                              Respectfully Submitted,

                                              SMITH LACIEN LLP

                                      By:     /s/Brian LaCien
                                              One of the attorneys for the Plaintiff


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Brian LaCien
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                       IN THE CIRCUIT COURT OF COOK COUNTY
                         COUNTY DEPARTMENT, LAW DIVISION

RASHEED HINTON and CRYSTAL CLARK                         )
and as Co-Special Administrators of the Estate of RAKELL )
HINTON, a minor, deceased,                               )
                                                         )
                        Plaintiffs,                      )   JURY DEMANDED
                                                         )
                v.                                       )   No. 2019 L 014017
                                                         )
ADVOCATE HEALTH AND HOSPITALS                            )
CORPORATION d/b/a ADVOCATE TRINITY HOSPITAL, )
 d/b/a ADVOCATE MEDICAL GROUP d/b/a ADVOCATE )
CHILDREN’S MEDICAL GROUP individually and/or by )
and through its agents and/or employee including without )
limit doctors, nurses, medical providers, MARIE-TERESA )
CHRISTOPHE COLBERT, M.D., LISA DE JUANA                  )
DANIEL, M.D., ASTER LOHA, R.N., NAOMI O. SANNI, )
R.N., MONICA NICHELE CARTER, R.N., SHARON A. )
WALLACE – WILLIAMS, GUADALUPE GARCIA a/k/a )
NINA GUADALUPE GARCIA, MARSHA ANGELLA                    )
RODNEY, R.N., LUCY N. KARBEAH, R.N., MARJORIE )
GINOY MICHEL, M.D., DARA THERESE NUZZO, R.N., )
and/or others; MARIE-TERESA CHRISTOPHE COLBERT, )
M.D. individually and/or as an agent of                  )
ADVOCATE HEALTH HOSPITALS CORPORATION                    )
d/b/a ADVOCATE TRINITY HOSPITAL, d/b/a                   )
ADVOCATE MEDICAL GROUP d/b/a ADVOCATE                    )
CHILDREN’S MEDICAL GROUP, and/or CHICAGO                 )
FAMILY HEALTH CENTER, INC; LISA DE JUANA                 )
DANIEL, M.D. individually and/or as an agent of          )
ADVOCATE HEALTH HOSPITALS CORPORATION d/b/a )
ADVOCATE TRINITY HOSPITAL, d/b/a ADVOCATE                )
MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S                  )
MEDICAL GROUP, CHICAGO FAMILY HEALTH                     )
CENTER, INC., ADVANCED GYNE & COSMETIC                   )
CARE, and/or FOR WOMEN ONLY HEALTHCARE, INC; )
ASTER LOHA,R.N. individually and/or as an agent          )
of ADVOCATE HEALTH HOSPITALS CORPORATION )
d/b/a ADVOCATE TRINITY HOSPITAL,                         )
d/b/a ADVOCATE MEDICAL GROUP d/b/a ADVOCATE )
CHILDREN’S MEDICAL GROUP;                                )
NAOMI O. SANNI, R.N. individually and/or as an agent of )
ADVOCATE HEALTH HOSPITALS CORPORATION d/b/a )
ADVOCATE TRINITY HOSPITAL, d/b/a ADVOCATE                )

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MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S                     )
MEDICAL GROUP; MONICA NICHELE CARTER,                       )
R.N. individually and/or as an agent of ADVOCATE            )
HEALTH HOSPITALS CORPORATION d/b/a                          )
ADVOCATE TRINITY HOSPITAL, d/b/a ADVOCATE                   )
MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S                     )
MEDICAL GROUP; SHARON A.                                    )
WALLACE – WILLIAMS individually and/or as an                )
agent of ADVOCATE HEALTH HOSPITALS                          )
CORPORATION d/b/a ADVOCATE TRINITY                          )
HOSPITAL, d/b/a ADVOCATE MEDICAL GROUP                      )
d/b/a ADVOCATE CHILDREN’S MEDICAL GROUP;                    )
GUADALUPE GARCIA a/k/a NINA GUADALUPE                       )
GARCIA individually and/or as an agent of ADVOCATE          )
HEALTH HOSPITALS CORPORATION d/b/a                          )
ADVOCATE TRINITY HOSPITAL, d/b/a ADVOCATE                   )
MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S                     )
MEDICAL GROUP; MARSHA ANGELLA                               )
RODNEY, R.N. individually and/or as an agent of             )
ADVOCATE HEALTH HOSPITALS CORPORATION d/b/a )
ADVOCATE TRINITY HOSPITAL, d/b/a ADVOCATE                   )
MEDICAL GROUP d/b/a ADVOCATE CHILDREN’S                     )
MEDICAL GROUP; LUCY N. KARBEAH, R.N.                        )
individually and/or as an agent of ADVOCATE HEALTH          )
HOSPITALS CORPORATION d/b/a ADVOCATE TRINITY )
HOSPITAL, d/b/a ADVOCATE MEDICAL GROUP d/b/a )
ADVOCATE CHILDREN’S MEDICAL GROUP;                          )
MARJORIE GINOY MICHEL, M.D. individually and/or as )
an agent of ADVOCATE HEALTH HOSPITALS                       )
CORPORATION d/b/a ADVOCATE TRINITY HOSPITAL, )
d/b/a ADVOCATE MEDICAL GROUP d/b/a ADVOCATE )
CHILDREN’S MEDICAL GROUP and/or CHICAGO                     )
FAMILY HEALTH CENTER, INC; DARA THERESE                     )
NUZZO, R.N., individually and/or as an agent of             )
ADVOCATE HEALTH HOSPITALS CORPORATION                       )
d/b/a ADVOCATE TRINITY HOSPITAL, d/b/a                      )
ADVOCATE MEDICAL GROUP d/b/a ADVOCATE                       )
CHILDREN’S MEDICAL GROUP; CHICAGO FAMILY )
HEALTH CENTER, INC individually and/or by and through )
its agents and/or employee including without limit doctors, )
nurses, medical providers MARIE-TERESA CHRISTOPHE )
COLBERT, M.D., LISA DE JUANA DANIEL, M.D.,                  )
MARJORIE GINOY MICHEL, M.D., and/or others;                 )
ADVANCED GYNE & COSMETIC CARE, and/or                       )
FOR WOMEN ONLY HEALTHCARE, INC individually                 )
and/or by and through its agents and/or employee including )

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without limit doctors, nurses, medical providers LISA         )
DE JUANA DANIEL, M.D. and/or others;                          )

                                           AFFIDAVIT

       Affiant, BRIAN LACIEN, on behalf of Plaintiffs, Plaintiffs, RASHEED HINTON and
CRYSTAL CLARK and as Co-Special Administrators of the Estate of RAKELL HINTON, a
minor, Deceased, and being first duly sworn on oath, deposed and states:

       1. That the affiant has consulted and reviewed the facts of the case with healthcare
          professionals who the affiant reasonably believe.

           a. Are knowledgeable in the relevant issues involved in the particular action;

           b. Practice or has practiced within the last 6 years or teaches or has taught within the
              last 6 years in the same area of healthcare or medicine that is at issue in the
              particular action; and

           c. Are qualified by experience or demonstrated competence in the subject of the case;
              that the revieing health professionals have determined in a written report, after a
              review of the medical records and other relevant materials involve dint he particular
              action that there is a reasonable and meritorious cause for the filing of such action;
              and that the affiant has concluded on the basis of the reviewing health professionals’
              review and consultation that there is a reasonable and meritorious cause of action
              for filing such action.


Under penalties as provided by law pursuant to Section 1-109 of the Code of Civil Procedure, the
undersigned certifies that the statements set forth in this instrument are true and correct, except as
to matters therein stated to be on information and belief and as to such matters the undersigned
certifies as aforesaid that he verily believes the same to be true.

       FURTHER AFFIANT SAYETH NOT.


DATED: February 23, 2021



                                               /s/Brian LaCien
                                               Brian LaCien




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                     Exhibit B
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                                        CERTIFICATION

        Pursuant to the provisions of 42 U.S.C. § 233, and by virtue of the authority delegated to

me by the Attorney General under 28 C.F.R. § 15.4 and through the United States Attorney for the

Northern District of Illinois, I hereby certify that I have read the complaint Rasheed Hinton, et al.,

etc. v. Advocate Health and Hospitals Corporation, etc., et al., No. 2019 L 14017 (Circuit Court

of Cook County, Illinois), and all attachments thereto. On the basis of the information now

available, I find that at the relevant times, Chicago Family Health Center, Inc., was a private entity

receiving grant money from the Public Health Service pursuant to 42 U.S.C. § 254b and was

deemed to be an employee of the Public Health Service pursuant to 42 U.S.C. § 233. Further, I

certify that Marie-Teresa Christophe Colbert, M.D., and Lisa De Juana Daniel, M.D., were acting

within the scope of their employment at Chicago Family Health Center with respect to the incidents

referred to in the complaint. Accordingly, for purposes of the above case, Chicago Family Health

Center, Inc., Marie-Teresa Christophe Colbert, M.D., and Lisa De Juana Daniel, M.D., are deemed

to be employees of the United States pursuant to 42 U.S.C. § 233, for federal statutory tort purposes

only.


                                                s/ Thomas P. Walsh
                                               THOMAS P. WALSH
                                               Chief, Civil Division
                                               Office of the United States Attorney
                                                   for the Northern District of Illinois

Date: March 26, 2021
